                                                                                                                                 Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 1 of 53 Page ID #:1




                                                                                                                          1   MALK & POGO LAW GROUP, LLP
                                                                                                                          2   Valter Malkhasyan (SBN 348491)
                                                                                                                              valter@malkpogolaw.com
                                                                                                                          3   Erik Pogosyan (SBN 345650)
                                                                                                                          4   erik@malkpogolaw.com
                                                                                                                              1241 S. Glendale Ave, Suite 204
                                                                                                                          5   Glendale, CA 91205
                                                                                                                          6   Tel: (818) 484-5204
                                                                                                                              Counsel for Plaintiff Michael Dilanyan
                                                                                                                          7

                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                                                  UNITED STATES DISTRICT COURT
                                                                                                                          9
                                                                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                         10

                                                                                                                         11
                                                                                                                              MICHAEL DILANYAN, individually           Case No. 2:24-cv-5200
                                                                                                                         12   and on behalf of all others similarly
                                                                                                                              situated,                                CLASS ACTION COMPLAINT
                                                                                                                         13

                                                                                                                         14                    Plaintiff,              1. VIOLATION OF CALIFORNIA
                                                                                                                                                                          CONSUMERS LEGAL REMEDIES
                                                                                                                         15
                                                                                                                                   vs.                                    ACT, CIVIL CODE § 1750, et. seq.
                                                                                                                         16                                            2. VIOLATION OF CALIFORNIA
                                                                                                                              UNIVERSAL BEAUTY PRODUCTS,                  FALSE ADVERTISING LAW,
                                                                                                                         17
                                                                                                                              INC.                                        BUSINESS AND PROFESSIONS
                                                                                                                         18                                               CODE § 17500, et. seq.
                                                                                                                                               Defendant.
                                                                                                                         19                                            3. VIOLATION OF CALIFORNIA
                                                                                                                         20
                                                                                                                                                                          UNFAIR COMPETITION LAW,
                                                                                                                                                                          BUSINESS AND PROFESSIONS
                                                                                                                         21                                               CODE § 17200, et. seq.
                                                                                                                         22                                            4. UNJUST ENRICHMENT
                                                                                                                         23                                            5. BREACH OF EXPRESS
                                                                                                                         24                                               WARRANTY

                                                                                                                         25                                            DEMAND FOR JURY TRIAL
                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                       1
                                                                                                                                                            CLASS ACTION 1COMPLAINT
                                                                                                                                    Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 2 of 53 Page ID #:2




                                                                                                                          1           Plaintiff Michael Dilanyan (“Plaintiff”), individually and on behalf of all other
                                                                                                                          2   similarly situated purchasers (the “Class” and “Class Members”), brings this class
                                                                                                                          3   action lawsuit against Universal Beauty Products, Inc. (“Defendant”), and alleges as
                                                                                                                          4   follows:
                                                                                                                          5                                     INTRODUCTION
                                                                                                                          6           1.   Synopsis. In an effort to increase profits and to gain an unfair advantage
                                                                                                                          7   over their lawfully acting competitors, Defendant falsely and misleadingly labels a
                                                                                                                          8   line of its beard care products with the following claims: “Made with Natural
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   Ingredients” and/or “Natural” (hereinafter, “Challenged Representations” or
                                                                                                                         10   “Natural Representations”).
                                                                                                                         11           2.   Contrary to the Products’ Natural Representations, as explained in detail
                                                                                                                         12   below, the Products actually contain numerous non-natural, synthetic, artificial,
                                                                                                                         13   and/or highly processed ingredients. Through falsely, misleadingly, and deceptively
                                                                                                                         14   labeling the Products, Defendant sought to take advantage of consumers’ desire for
                                                                                                                         15   truly natural products. Yet Defendant has done so at the expense of unwitting
                                                                                                                         16   consumers, as well as Defendant’s lawfully acting competitors, over whom Defendant
                                                                                                                         17   maintains an unfair competitive advantage.
                                                                                                                         18           3.   Products. The purported “natural” beard care products at issue are: (1)
                                                                                                                         19   Beard 2-in-1 Wash & Tame; (2) Beard Guyz Beard Wash; (3) Beard Guyz Beard Oil
                                                                                                                         20   (in various sizes); (4) Beard Guyz Micro Mist Beard Oil; (5) Beard Guyz Beard
                                                                                                                         21   Serum; (6) Beard Guyz Beard Conditioner; (7) Beard Guyz Moustache Wax; (8)
                                                                                                                         22   Beard Guyz Styling Foam and (9) Beard Guyz Beard Butter (collectively referred to
                                                                                                                         23   as the “Products”).
                                                                                                                         24           4.   The Products are pictured below. Figures 1-6, infra.
                                                                                                                         25   ///
                                                                                                                         26   ///
                                                                                                                         27   ///
                                                                                                                         28   ///
                                                                                                                                                                       2
                                                                                                                                                            CLASS ACTION 2COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 3 of 53 Page ID #:3




                                                                                                                          1   Figure 1 – Beard Guyz Beard 2-in-1 Wash & Tame
                                                                                                                          2

                                                                                                                          3

                                                                                                                          4

                                                                                                                          5

                                                                                                                          6

                                                                                                                          7

                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9

                                                                                                                         10

                                                                                                                         11

                                                                                                                         12

                                                                                                                         13

                                                                                                                         14

                                                                                                                         15

                                                                                                                         16

                                                                                                                         17

                                                                                                                         18

                                                                                                                         19

                                                                                                                         20

                                                                                                                         21

                                                                                                                         22

                                                                                                                         23

                                                                                                                         24

                                                                                                                         25

                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                 3
                                                                                                                                                      CLASS ACTION 3COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 4 of 53 Page ID #:4




                                                                                                                          1   Figure 2 – Beard Guyz Beard Wash

                                                                                                                          2

                                                                                                                          3

                                                                                                                          4

                                                                                                                          5

                                                                                                                          6

                                                                                                                          7

                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9

                                                                                                                         10

                                                                                                                         11

                                                                                                                         12

                                                                                                                         13

                                                                                                                         14

                                                                                                                         15

                                                                                                                         16

                                                                                                                         17

                                                                                                                         18

                                                                                                                         19

                                                                                                                         20

                                                                                                                         21

                                                                                                                         22

                                                                                                                         23

                                                                                                                         24

                                                                                                                         25

                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                 4
                                                                                                                                                      CLASS ACTION 4COMPLAINT
                                                                                                                                  Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 5 of 53 Page ID #:5




                                                                                                                          1   Figure 3 – Beard Guyz Beard Oil1

                                                                                                                          2

                                                                                                                          3

                                                                                                                          4

                                                                                                                          5

                                                                                                                          6

                                                                                                                          7

                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9

                                                                                                                         10

                                                                                                                         11

                                                                                                                         12

                                                                                                                         13

                                                                                                                         14

                                                                                                                         15

                                                                                                                         16

                                                                                                                         17

                                                                                                                         18

                                                                                                                         19

                                                                                                                         20

                                                                                                                         21

                                                                                                                         22

                                                                                                                         23

                                                                                                                         24

                                                                                                                         25

                                                                                                                         26

                                                                                                                         27
                                                                                                                              1
                                                                                                                         28    The Beard Oil includes, but is not limited to, the following sizes: (a) 1.5 Fl. Oz; and
                                                                                                                              (b) 2.0 Fl. Oz.
                                                                                                                                                                     5
                                                                                                                                                          CLASS ACTION 5COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 6 of 53 Page ID #:6




                                                                                                                          1   Figure 4 – Beard Guyz Micro Mist Beard Oil

                                                                                                                          2

                                                                                                                          3

                                                                                                                          4

                                                                                                                          5

                                                                                                                          6

                                                                                                                          7

                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9

                                                                                                                         10

                                                                                                                         11

                                                                                                                         12

                                                                                                                         13

                                                                                                                         14

                                                                                                                         15

                                                                                                                         16

                                                                                                                         17

                                                                                                                         18

                                                                                                                         19

                                                                                                                         20

                                                                                                                         21

                                                                                                                         22

                                                                                                                         23

                                                                                                                         24

                                                                                                                         25

                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                 6
                                                                                                                                                      CLASS ACTION 6COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 7 of 53 Page ID #:7




                                                                                                                          1   Figure 5 – Beard Guyz Beard Serum

                                                                                                                          2

                                                                                                                          3

                                                                                                                          4

                                                                                                                          5

                                                                                                                          6

                                                                                                                          7

                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9

                                                                                                                         10

                                                                                                                         11

                                                                                                                         12

                                                                                                                         13

                                                                                                                         14

                                                                                                                         15

                                                                                                                         16

                                                                                                                         17

                                                                                                                         18

                                                                                                                         19

                                                                                                                         20

                                                                                                                         21

                                                                                                                         22

                                                                                                                         23

                                                                                                                         24

                                                                                                                         25

                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                 7
                                                                                                                                                      CLASS ACTION 7COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 8 of 53 Page ID #:8




                                                                                                                          1
                                                                                                                              Figure 6 – Beard Guyz Moustache Wax
                                                                                                                          2

                                                                                                                          3

                                                                                                                          4

                                                                                                                          5

                                                                                                                          6

                                                                                                                          7

                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9

                                                                                                                         10

                                                                                                                         11

                                                                                                                         12

                                                                                                                         13

                                                                                                                         14

                                                                                                                         15

                                                                                                                         16

                                                                                                                         17

                                                                                                                         18

                                                                                                                         19

                                                                                                                         20

                                                                                                                         21

                                                                                                                         22

                                                                                                                         23

                                                                                                                         24

                                                                                                                         25

                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                 8
                                                                                                                                                      CLASS ACTION 8COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 9 of 53 Page ID #:9




                                                                                                                          1
                                                                                                                              Figure 7 – Beard Guyz Moustache Wax
                                                                                                                          2

                                                                                                                          3

                                                                                                                          4

                                                                                                                          5

                                                                                                                          6

                                                                                                                          7

                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9

                                                                                                                         10

                                                                                                                         11

                                                                                                                         12

                                                                                                                         13

                                                                                                                         14

                                                                                                                         15

                                                                                                                         16

                                                                                                                         17

                                                                                                                         18

                                                                                                                         19

                                                                                                                         20

                                                                                                                         21

                                                                                                                         22

                                                                                                                         23

                                                                                                                         24

                                                                                                                         25

                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                 9
                                                                                                                                                      CLASS ACTION 9COMPLAINT
                                                                                                                               Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 10 of 53 Page ID #:10




                                                                                                                          1   Figure 8 – Beard Guyz Styling Foam

                                                                                                                          2

                                                                                                                          3

                                                                                                                          4

                                                                                                                          5

                                                                                                                          6

                                                                                                                          7

                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9

                                                                                                                         10

                                                                                                                         11

                                                                                                                         12

                                                                                                                         13

                                                                                                                         14

                                                                                                                         15

                                                                                                                         16

                                                                                                                         17

                                                                                                                         18

                                                                                                                         19

                                                                                                                         20

                                                                                                                         21

                                                                                                                         22

                                                                                                                         23

                                                                                                                         24

                                                                                                                         25

                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                 10
                                                                                                                                                      CLASS ACTION10COMPLAINT
                                                                                                                               Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 11 of 53 Page ID #:11




                                                                                                                          1   Figure 9 – Beard Guyz Beard Butter

                                                                                                                          2

                                                                                                                          3

                                                                                                                          4

                                                                                                                          5

                                                                                                                          6

                                                                                                                          7

                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9

                                                                                                                         10

                                                                                                                         11

                                                                                                                         12

                                                                                                                         13

                                                                                                                         14

                                                                                                                         15

                                                                                                                         16

                                                                                                                         17

                                                                                                                         18

                                                                                                                         19

                                                                                                                         20

                                                                                                                         21

                                                                                                                         22

                                                                                                                         23

                                                                                                                         24

                                                                                                                         25

                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                 11
                                                                                                                                                      CLASS ACTION11COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 12 of 53 Page ID #:12




                                                                                                                          1         5.    Primary Dual Litigation Objective. Plaintiff brings this action
                                                                                                                          2   individually and in a representative capacity on behalf of similarly situated consumers
                                                                                                                          3   who purchased the Products during the relevant Class Period (Class and/or Subclass
                                                                                                                          4   defined infra), for dual primary objectives: One, Plaintiff seeks, on Plaintiff’s
                                                                                                                          5   individual behalf and on behalf of the Class/Subclass, a monetary recovery of the
                                                                                                                          6   price premium Plaintiff and consumers overpaid for Products that should, but fail to,
                                                                                                                          7   comport with the Challenged Representation (which may include, for example,
                                                                                                                          8   damages, restitution, disgorgement, and/or any applicable penalties, fines, or
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   punitive/exemplary damages) solely to the extent that the causes of action pled herein
                                                                                                                         10   permit such recovery. Two, Plaintiff seeks, on their individual behalf and on behalf
                                                                                                                         11   of the Class/Subclass, injunctive relief to stop Defendant’s unlawful manufacture,
                                                                                                                         12   marketing, and sale of the Products with the Challenged Representation to avoid or
                                                                                                                         13   mitigate the risk of deceiving the public into believing that the Products conform to
                                                                                                                         14   the Challenged Representation, by requiring Defendant to change its business
                                                                                                                         15   practices, which may include one or more of the following: removal or modification
                                                                                                                         16   of the Challenged Representation from the Products’ labels, removal or modification
                                                                                                                         17   of the Challenged Representation from the Products’ advertising, modification of the
                                                                                                                         18   Products’ formulation be it a change in ingredients or their sourcing and
                                                                                                                         19   manufacturing processes, and/or discontinuance of the Products’ manufacture,
                                                                                                                         20   marketing, and/or sale.
                                                                                                                         21                               JURISDICTION AND VENUE
                                                                                                                         22         6.    This Court has subject matter jurisdiction of this action pursuant to 28
                                                                                                                         23   U.S.C. § 1332 and the Class Action Fairness Act of 2005 because: (i) there are 100
                                                                                                                         24   or more class members, (ii) there is an aggregate amount in controversy exceeding
                                                                                                                         25   $5,000,000, exclusive of interest and costs, and (iii) there is minimal diversity because
                                                                                                                         26   at least one plaintiff and defendant are citizens of different states. This Court has
                                                                                                                         27   supplemental jurisdiction over any state law claims pursuant to 28 U.S.C. § 1367.
                                                                                                                         28

                                                                                                                                                                      12
                                                                                                                                                           CLASS ACTION12COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 13 of 53 Page ID #:13




                                                                                                                          1          7.    Venue is proper in this District under 28 U.S.C. § 1391, because a
                                                                                                                          2   substantial part of the events, omissions, and acts giving rise to the claims herein
                                                                                                                          3   occurred in this District. Plaintiff is a citizen of California who resides in this District.
                                                                                                                          4   Plaintiff purchased the Product in this District. Defendant has deliberately marketed,
                                                                                                                          5   advertised, and sold the Products within this District. Defendant receives substantial
                                                                                                                          6   compensation from sales in this District.
                                                                                                                          7          8.    Defendant is subject to personal jurisdiction in California based upon
                                                                                                                          8   sufficient minimum contacts which exist between Defendant and California.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   Defendant is authorized to do and is doing business in California.
                                                                                                                         10                                            PARTIES
                                                                                                                         11          9.    Plaintiff: Plaintiff is, and at all times relevant hereto was, a citizen of
                                                                                                                         12   California. Plaintiff routinely purchased the Beard Guyz Beard 2-in-1 Wash & Tame
                                                                                                                         13   from a Walmart location in Los Angeles in between January - February of 2024.
                                                                                                                         14   Plaintiff paid approximately $10 for the Product. In making his purchase, Plaintiff
                                                                                                                         15   relied upon Defendant’s labeling and advertising claims, namely, the Natural
                                                                                                                         16   Representations labels clearly printed on the front of the Product. These claims were
                                                                                                                         17   prepared and approved by Defendant and its agents and disseminated statewide and
                                                                                                                         18   nationwide, to encourage consumers to purchase the Products. If Plaintiff had known
                                                                                                                         19   that the Product contained ingredients that are non-natural, synthetic, artificial, and/or
                                                                                                                         20   highly processed, then Plaintiff would not have purchased the Product.
                                                                                                                         21          10. Plaintiff’s Future Harm: Plaintiff would like to purchase the Product
                                                                                                                         22   again only if he can be sure that Defendant is compliant with the state consumer
                                                                                                                         23   protection laws. Plaintiff continues to see Defendant’s Products in stores available for
                                                                                                                         24   purchase, and desires to purchase them again if the representations regarding the
                                                                                                                         25   Natural Representations were in fact true. Since Plaintiff would like to purchase the
                                                                                                                         26   Products again to obtain beard care products that, as advertised, are truly natural and
                                                                                                                         27   therefore do not contain non-natural, synthetic, artificial, and/or highly processed
                                                                                                                         28   ingredients, Plaintiff would purchase them again in the future—despite the fact that
                                                                                                                                                                       13
                                                                                                                                                            CLASS ACTION13COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 14 of 53 Page ID #:14




                                                                                                                          1   they were once marred by false advertising or labeling—as Plaintiff would
                                                                                                                          2   reasonably, but incorrectly, assume the Products were improved (no longer contain
                                                                                                                          3   non-natural, synthetic, artificial, and/or highly processed ingredients). In that regard,
                                                                                                                          4   Plaintiff is an average consumer who is not sophisticated in the chemistry,
                                                                                                                          5   manufacturing, and formulation of beard care products, such as the Products. Neither
                                                                                                                          6   Plaintiff, nor reasonable consumers, have the requisite knowledge to accurately
                                                                                                                          7   differentiate between cosmetic ingredients that are “natural” and those that are
                                                                                                                          8   “synthetic”—particularly those non-natural ingredients identified infra. Accordingly,
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   Plaintiff is at risk of reasonably, but incorrectly, assuming that Defendants fixed the
                                                                                                                         10   formulation of the Products such that Plaintiff may buy them again, believing they
                                                                                                                         11   were no longerfalsely advertised. Plaintiff is, therefore, currently and in the future
                                                                                                                         12   deprived of the ability to rely on the Natural Representations. Based on information
                                                                                                                         13   and belief, the labeling of the Products purchased by Plaintiff are typical of the
                                                                                                                         14   labeling of the Products purchased by members of the class.
                                                                                                                         15         11. Defendant: Universal Beauty Products, Inc., is a Limited Liability
                                                                                                                         16   Company headquartered in Glendale Height, Illinois. Universal Beauty Products,
                                                                                                                         17   Inc., maintains its principal business office at 500 Wall Street, Glendale Height,
                                                                                                                         18   Illinois 60139. Universal Beauty Products, Inc., directly and through its agents, has
                                                                                                                         19   substantial contacts with and receives substantial benefits and income from and
                                                                                                                         20   through the State of California. Universal Beauty Products, Inc., is the owner,
                                                                                                                         21   manufacturer, and distributor of the Products, and is the company that created and/or
                                                                                                                         22   authorized the false, misleading, and deceptive packaging of the Products.
                                                                                                                         23                                FACTUAL ALLEGATIONS
                                                                                                                         24   A.   Natural Market
                                                                                                                         25         12. In recent years, consumers have poured billions of dollars into the natural
                                                                                                                         26   cosmetics market. The global market in 2018 for natural cosmetics was estimated to
                                                                                                                         27   have a revenue of $10.31 billion and increases each year, with an estimated growth
                                                                                                                         28

                                                                                                                                                                      14
                                                                                                                                                           CLASS ACTION14COMPLAINT
                                                                                                                                  Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 15 of 53 Page ID #:15




                                                                                                                          1   to $48.04 billion by 2025.2 In fact, consumers tend to purchase natural cosmetics
                                                                                                                          2   more often than not, showing the growing importance of the natural cosmetic market.3
                                                                                                                          3   Consumers value natural products for numerous reasons, including perceived benefits
                                                                                                                          4   of avoiding diseases, attaining health and wellness, helping the environment, assisting
                                                                                                                          5   local farmers, assisting factory workers who would otherwise be exposed to synthetic
                                                                                                                          6   and hazardous substances, and financially supporting the companies that share these
                                                                                                                          7   values. In response to consumers’ desire for natural products, many companies,
                                                                                                                          8   including Defendants, have scrambled to manufacture, market, and sell purportedly
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   “natural” products in an effort to gain market share. Unfortunately, rather than
                                                                                                                         10   creating the natural products consumers desire, Defendants have chosen instead to
                                                                                                                         11   market the Products through deceptive labeling and advertising in order to convince
                                                                                                                         12   consumers the products are natural when, in reality, they contain synthetic and
                                                                                                                         13   artificial ingredients.
                                                                                                                         14          13. Desire for “natural” attributes has a long history in the sociological and
                                                                                                                         15   psychological literature, and as a result, it enhances consumers’ positive perception
                                                                                                                         16   of the overall product (and its quality), making the products more desirable than the
                                                                                                                         17   correspondent “non-natural” products.
                                                                                                                         18          14. Consumers are willing to pay a price premium for the “natural” products,
                                                                                                                         19   and believe it is important that products are natural.
                                                                                                                         20          15. Similar to a desire for a more expensive brand, consumers associate
                                                                                                                         21   products labeled as “natural” or “made with natural ingredients” to be better. If the
                                                                                                                         22   same two products were shown to a consumer, one of which contained the “natural”
                                                                                                                         23

                                                                                                                         24
                                                                                                                              2
                                                                                                                                     Natural Cosmetics Market Worth $48.04 Billion by 2025, BLOOMBERG,
                                                                                                                         25   June 11, 2019, https://www.bloomberg.com/press-releases/2019-06-11/natural-
                                                                                                                              cosmetics-market-worth-48-04-billion-by-2025-cagr-5-01-grand-view-research-inc
                                                                                                                         26
                                                                                                                              (last visited June 10, 2024).
                                                                                                                              3
                                                                                                                         27          Global Market Value For Natural and Organic Cosmetics And Personal Care
                                                                                                                              From 2018 To 2027, STATISTA, Sept. 24, 2020,
                                                                                                                         28   https://www.statista.com/statistics/673641/global-market-value-for-natural-
                                                                                                                              cosmetics/ (last visited June 10, 2024).
                                                                                                                                                                      15
                                                                                                                                                           CLASS ACTION15COMPLAINT
                                                                                                                                  Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 16 of 53 Page ID #:16




                                                                                                                          1   label, consumers would chose the product with the “natural” label, believing to be a
                                                                                                                          2   better alternative to the same product which does not contain the “natural” label.
                                                                                                                          3          16. However, consumers are not scientists. They do not understand the
                                                                                                                          4   manufacturing process, and are not well-versed in the processes involved in obtaining,
                                                                                                                          5   synthesizing, or preparing various products and their ingredients.
                                                                                                                          6          17. Consumers rely on the manufacturers to honestly label the products.
                                                                                                                          7   When consumers see “natural” or “made with natural ingredients” labels, they
                                                                                                                          8   perceive the products to be fully natural, and not containing any unnatural ingredients
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   – whether synthetic, processed, chemically altered, or otherwise unnatural.
                                                                                                                         10          18. Consumers rely on the corporate America (and here, on Defendant) to
                                                                                                                         11   honestly label the products, and chose to buy the “natural” products, reasonably
                                                                                                                         12   believing the front labels to be truthful.
                                                                                                                         13          19. Governmental Regulatory Agencies’ and Standard Dictionary
                                                                                                                         14   Definitions:
                                                                                                                         15               a. USDA. The United States Department of Agriculture (“USDA”),
                                                                                                                         16                   pursuant to 7 U.S.C. § 6502, defines the term “synthetic” for
                                                                                                                         17                   agricultural products as “a substance that is formulated or
                                                                                                                         18                   manufactured by a chemical process or by a process that chemically
                                                                                                                         19                   changes a substance extracted from naturally occurring plant, animal,
                                                                                                                         20                   or mineral sources, except that such term shall not apply to substances
                                                                                                                         21                   created by naturally occurring biological processes.”
                                                                                                                         22               b. Dictionary.       The Merriam-Webster standard dictionary defines
                                                                                                                         23                   “natural” as “existing in or produced by nature: not artificial,” and “not
                                                                                                                         24                   having any extra substances or chemicals added: not containing
                                                                                                                         25                   anything artificial.”4
                                                                                                                         26

                                                                                                                         27
                                                                                                                              4
                                                                                                                         28          Natural  Definition,   Merriam-Webster.com,        2011,     available   at
                                                                                                                              https://www.merriam-webster.com/dictionary/natural (last accessed June 12, 2024).
                                                                                                                                                                      16
                                                                                                                                                           CLASS ACTION16COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 17 of 53 Page ID #:17




                                                                                                                          1               c. FTC.       The Federal Trade Commission (“FTC”) has cautioned
                                                                                                                          2                    “[m]arketers that are using terms such as natural must ensure that they
                                                                                                                          3                    can substantiate whatever claims they are conveying to reasonable
                                                                                                                          4                    consumers. If reasonable consumers could interpret a natural claim as
                                                                                                                          5                    representing that a product contains no artificial ingredients, then the
                                                                                                                          6                    marketer must be able to substantiate that fact.” Guides for the Use of
                                                                                                                          7                    Environmental Marketing Claims, 75 FR 63552-01, 63586 (Oct. 15,
                                                                                                                          8                    2010).
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9         20. Accordingly, reasonable consumers, like Plaintiff, interpret the Natural
                                                                                                                         10   Representations as claims that the Products cont no non-natural, artificial, and/or
                                                                                                                         11   synthetic ingredients.
                                                                                                                         12   B.   The Products’ Misleading and Deceptive Labeling
                                                                                                                         13         21. Products. Defendant manufactures, markets, promotes, advertises,
                                                                                                                         14   labels, and sells a line of beard care products (see supra, ¶¶ 3-4, identifying Products)
                                                                                                                         15   — each of which displays the Challenged Representation on the Products’ front-
                                                                                                                         16   facing labels.
                                                                                                                         17         22. The Challenged Representation. On the Products’ front labels,
                                                                                                                         18   Defendant prominently, conspicuously, and repeatedly displays the Challenged
                                                                                                                         19   Representation—specifically, “Made with Natural Ingredients.” Defendant also
                                                                                                                         20   uses statements and imagery to reinforce the Challenged Representation throughout
                                                                                                                         21   the Products’ labels and Defendant’s advertising campaign and brand strategy to
                                                                                                                         22   differentiate the Products as containing only natural ingredients.
                                                                                                                         23         23. Reasonable Consumer’s Perception. The Challenged Representation,
                                                                                                                         24   in isolation and/or combined with Defendant’s pervasive marketing campaign and
                                                                                                                         25   brand strategy, leads reasonable consumers, like Plaintiff, into believing that the
                                                                                                                         26   Products contain only natural ingredients. Given limited general knowledge of what
                                                                                                                         27   is included in beard care items, the reasonable consumer does not expect a non-natural
                                                                                                                         28   ingredient in the Products. As such, the Products’ labels have the “capacity,
                                                                                                                                                                       17
                                                                                                                                                            CLASS ACTION17COMPLAINT
                                                                                                                                  Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 18 of 53 Page ID #:18




                                                                                                                          1   likelihood, or tendency to deceive or confuse the public” into believing that they are
                                                                                                                          2   fully natural and are truthfully labeled. See Williams v. Gerber Prods. Co., 552 F.3d
                                                                                                                          3   934, 938 (9th Cir. 2008) (citing Kasky v. Nike, Inc., 27 Cal.4th 939, 951 (2002) and
                                                                                                                          4   Leoni v. State Bar, 39 Cal. 3d 609, 626 (1985)) (The California Supreme Court has
                                                                                                                          5   recognized “that [consumer protection] laws prohibit ‘not only advertising which is
                                                                                                                          6   false, but also advertising which, although true, is either actually misleading or which
                                                                                                                          7   has a capacity, likelihood or tendency to deceive or confuse the public.’”).
                                                                                                                          8          24. Falsity. The Challenged Representation is false and deceptive because
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   the Products contain numerous non-natural ingredients. Specifically, the Products
                                                                                                                         10   contain the following non-natural, synthetic, and/or artificial ingredients, in varying
                                                                                                                         11   combinations:
                                                                                                                         12
                                                                                                                                       ● Cocamidopropyl Betaine is a synthetic detergent derived from fatty
                                                                                                                         13              acids in coconuts and acts as a surfactant, binding to oils and dirt.5 In
                                                                                                                         14              2004, it was voted Allergen of the year by the American Contact
                                                                                                                                         Dermatitis Society due to reactions and sensitization it causes. Risks also
                                                                                                                         15              include contact dermatitis and environmental toxicity.
                                                                                                                         16
                                                                                                                                       ● Caprylyl Glycol is manufactured synthetically meaning it relies less on
                                                                                                                         17              natural resources like palm and coconut oil.
                                                                                                                         18
                                                                                                                                       ● Cocamidopropyl Hydroxysultaine is synthetically derived from
                                                                                                                         19              coconut oil using different chemical reactions. Epichlorohydrin and
                                                                                                                         20              sodium bisulfite are reacted to fatty acids (Lauric acid) from coconut oil
                                                                                                                                         to get CAHS, which is used as a foam booster and thickening agent.
                                                                                                                         21

                                                                                                                         22            ● Citric Acid is synthetically made by the fermentation of glucose.
                                                                                                                         23            ● Decyl Glucoside is a surfactant that is synthetically created by reacting
                                                                                                                         24              glucose with certain alcohols.
                                                                                                                         25            ● Ethylhexylglycerin is derived from synthetic raw materials.
                                                                                                                         26

                                                                                                                         27   5
                                                                                                                                    Loggins, Brittany. Cocamidopropyl Betaine: Why You See This Ingredient In
                                                                                                                         28   Your Skincare, BYRDIE, June 3, 2022. https://www.byrdie.com/cocamidopropyl-
                                                                                                                              betaine-5207555 (last accessed June 10, 2024).
                                                                                                                                                                     18
                                                                                                                                                          CLASS ACTION18COMPLAINT
                                                                                                                                  Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 19 of 53 Page ID #:19




                                                                                                                          1            ● Fragrance is a synthetic compound composed of petroleum by-products
                                                                                                                                         such as benzene derivatives, aldehydes, toluene, and other known toxic
                                                                                                                          2              chemicals.
                                                                                                                          3
                                                                                                                                       ● Guar Hydroxypropyltrimonium Chloride is a common synthetic
                                                                                                                          4              cationic polymer used in cosmetics for anti-frizz and static.
                                                                                                                          5
                                                                                                                                       ● Glycerin is a synthetic, produced by the hydrogenolysis of carbohydrates.
                                                                                                                          6

                                                                                                                          7
                                                                                                                                       ● Limonene is synthetically created from geranyl pyrophosphate, via
                                                                                                                                         cyclization of a neryl carbocation.
                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9            ● Linalool is produced industrially by hemi-synthesis from pinene or
                                                                                                                                         through total chemical synthesis.
                                                                                                                         10

                                                                                                                         11            ● Panthenol is synthetically produced by combining propanolamine and
                                                                                                                                         beta-dimethyl butyrolactone. When panthenol is applied topically, it
                                                                                                                         12              penetrates the lower layers of the skin, is absorbed by skin cells and
                                                                                                                         13              converted to pantothenic acid (more commonly known as vitamin B5).

                                                                                                                         14            ● Phenoxyethanol is synthetically made for commercial purposes by
                                                                                                                         15              reacting phenol, a mildly acidic petroleum derived chemical, with
                                                                                                                                         ethylene oxide, a proven human carcinogen, in an alkaline medium.
                                                                                                                         16

                                                                                                                         17            ● Potassium Sorbate is a synthetic preservative produced by reacting
                                                                                                                                         sorbic acid with potassium hydroxide.
                                                                                                                         18

                                                                                                                         19            ● Sodium Benzoate is a synthetic chemical produced in a lab by
                                                                                                                                         combining benzoic acid, found naturally in some fruits and spices, with
                                                                                                                         20              sodium hydroxide which is a synthetically manufactured substance.
                                                                                                                         21
                                                                                                                                       ● Sodium Chloride is formed when sodium atoms interact with chlorine
                                                                                                                         22              atoms.
                                                                                                                         23
                                                                                                                                       ● Tocopherol is classified by federal regulations as a synthetic substance,
                                                                                                                         24
                                                                                                                                         even when extracted from natural oils, which is done through molecular
                                                                                                                         25              distillation, solvent extraction, or absorption chromatography.6
                                                                                                                         26
                                                                                                                              6
                                                                                                                         27          Vitamin E. National Center for Biotechnology Information. PubChem
                                                                                                                              Compound       Database,      U.S.    National    Library    of     Medicine,
                                                                                                                         28   https://pubchem.ncbi.nlm.nih.gov/compound/Vitamin-E. (last accessed June 10,
                                                                                                                              2024).
                                                                                                                                                                     19
                                                                                                                                                          CLASS ACTION19COMPLAINT
                                                                                                                                    Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 20 of 53 Page ID #:20




                                                                                                                          1            25. In addition to those ingredients that are not natural, the Products contain
                                                                                                                          2   numerous ingredients that have been subject to significant chemical modification or
                                                                                                                          3   processing, which materially altered the ingredients’ original natural composition. Put
                                                                                                                          4   differently, to create certain ingredients used in the Products, natural-sourced
                                                                                                                          5   ingredients are subjected to substantial processing such that the resulting ingredient
                                                                                                                          6   used in the Products is an entirely new, synthetically-created ingredient—one that
                                                                                                                          7   fundamentally differs from the original natural-derived ingredient. Accordingly, the
                                                                                                                          8   Challenged Representation is false, misleading, and deceptive, and therefore
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   unlawful.
                                                                                                                         10   C.       Defendant’s Product Marketing Further Misleads Reasonable Consumers
                                                                                                                         11            26. Despite formulating its Products with many non-natural (synthetic and
                                                                                                                         12   chemical) ingredients, Defendant methodically markets these Products as “natural”
                                                                                                                         13   both on its own and other third-party retailer websites, which further mislead
                                                                                                                         14   consumers into believing the Products contain only natural ingredients. See pictures
                                                                                                                         15   from official retail websites below.
                                                                                                                         16   ///
                                                                                                                         17   ///
                                                                                                                         18   ///
                                                                                                                         19   ///
                                                                                                                         20   ///
                                                                                                                         21   ///
                                                                                                                         22   ///
                                                                                                                         23   ///
                                                                                                                         24   ///
                                                                                                                         25   ///
                                                                                                                         26   ///
                                                                                                                         27   ///
                                                                                                                         28   ///
                                                                                                                                                                       20
                                                                                                                                                            CLASS ACTION20COMPLAINT
                                                                                                                              Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 21 of 53 Page ID #:21




                                                                                                                          1

                                                                                                                          2

                                                                                                                          3

                                                                                                                          4

                                                                                                                          5

                                                                                                                          6

                                                                                                                          7

                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9

                                                                                                                         10

                                                                                                                         11

                                                                                                                         12

                                                                                                                         13

                                                                                                                         14

                                                                                                                         15

                                                                                                                         16

                                                                                                                         17

                                                                                                                         18

                                                                                                                         19

                                                                                                                         20

                                                                                                                         21

                                                                                                                         22

                                                                                                                         23

                                                                                                                         24

                                                                                                                         25

                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                21
                                                                                                                                                     CLASS ACTION21COMPLAINT
                                                                                                                              Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 22 of 53 Page ID #:22




                                                                                                                          1

                                                                                                                          2

                                                                                                                          3

                                                                                                                          4

                                                                                                                          5

                                                                                                                          6

                                                                                                                          7

                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9

                                                                                                                         10

                                                                                                                         11

                                                                                                                         12

                                                                                                                         13

                                                                                                                         14

                                                                                                                         15

                                                                                                                         16

                                                                                                                         17

                                                                                                                         18

                                                                                                                         19

                                                                                                                         20

                                                                                                                         21

                                                                                                                         22

                                                                                                                         23

                                                                                                                         24

                                                                                                                         25

                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                22
                                                                                                                                                     CLASS ACTION22COMPLAINT
                                                                                                                              Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 23 of 53 Page ID #:23




                                                                                                                          1

                                                                                                                          2

                                                                                                                          3

                                                                                                                          4

                                                                                                                          5

                                                                                                                          6

                                                                                                                          7

                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9

                                                                                                                         10

                                                                                                                         11

                                                                                                                         12

                                                                                                                         13

                                                                                                                         14

                                                                                                                         15

                                                                                                                         16

                                                                                                                         17

                                                                                                                         18

                                                                                                                         19

                                                                                                                         20

                                                                                                                         21

                                                                                                                         22

                                                                                                                         23

                                                                                                                         24

                                                                                                                         25

                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                23
                                                                                                                                                     CLASS ACTION23COMPLAINT
                                                                                                                              Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 24 of 53 Page ID #:24




                                                                                                                          1

                                                                                                                          2

                                                                                                                          3

                                                                                                                          4

                                                                                                                          5

                                                                                                                          6

                                                                                                                          7

                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9

                                                                                                                         10

                                                                                                                         11

                                                                                                                         12

                                                                                                                         13

                                                                                                                         14

                                                                                                                         15

                                                                                                                         16

                                                                                                                         17

                                                                                                                         18

                                                                                                                         19

                                                                                                                         20

                                                                                                                         21

                                                                                                                         22

                                                                                                                         23

                                                                                                                         24

                                                                                                                         25

                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                24
                                                                                                                                                     CLASS ACTION24COMPLAINT
                                                                                                                                  Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 25 of 53 Page ID #:25




                                                                                                                          1   C.     Defendant Misleads Plaintiff and Reasonable Consumers, Who Relied on
                                                                                                                          2          the Material and False Advertising Claims to their Detriment
                                                                                                                          3          27. Materiality. The Challenged Representation is material to reasonable
                                                                                                                          4   consumers, including Plaintiff, in deciding to buy the Products. Specifically, the
                                                                                                                          5   composition of the Products containing only natural ingredients—is important to
                                                                                                                          6   consumers and motivates them to buy the Products.
                                                                                                                          7          28. Reliance. The Class, including Plaintiff, reasonably relied on the
                                                                                                                          8   Challenged Representation in deciding to purchase the Products.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9          29. Consumers Lack Knowledge of Falsity. Consumers, including Plaintiff,
                                                                                                                         10   do not know, and have no reason to know, at the time of purchase, that the Products’
                                                                                                                         11   Challenged Representation is false, misleading, deceptive, and unlawful. That is
                                                                                                                         12   because consumers, including Plaintiff, do not work for Defendant and therefore have
                                                                                                                         13   no personal knowledge of the actual ingredients used to make the Products or how
                                                                                                                         14   those ingredients are made, including whether non-natural ingredients are included in
                                                                                                                         15   the Products. Additionally, average consumers do not have the specialized knowledge
                                                                                                                         16   of a chemist or product-developer. Thus, reasonable consumers, like Plaintiff, cannot
                                                                                                                         17   discern from the Products’ ingredient disclosures whether ingredients, are natural.
                                                                                                                         18   Furthermore, reasonable consumers, like Plaintiff, does not ordinarily review
                                                                                                                         19   information on the back or side panels of a consumer products’ packaging, like the
                                                                                                                         20   Products’ packaging, particularly dense, fine-print ingredient disclosures, or review
                                                                                                                         21   such information on websites. Indeed, studies show that only approximately 7.7% to
                                                                                                                         22   11.6% of people even look at the side or back labels of consumer goods, such as
                                                                                                                         23   ingredient lists, before they buy it.7
                                                                                                                         24
                                                                                                                              7
                                                                                                                                     Grunert, Klaus, et. al, Nutrition knowledge, and use and understanding of
                                                                                                                         25   nutrition information on food labels among consumers in the UK, 55 Appetite 177, at
                                                                                                                              179-181                      (2010)                  available                   at
                                                                                                                         26
                                                                                                                              https://reader.elsevier.com/reader/sd/pii/S0195666310003661?token=95E4146C1B
                                                                                                                         27   B7D7A7C9A487F22F0B445BD44499550086E04870765EBE116ED32DBFE3795
                                                                                                                              E60B69C75831563CD1BC6655A&originRegion=us-east-
                                                                                                                         28   1&originCreation=20220720162546 (consumer purchasing behavior study using in-
                                                                                                                                                                       25
                                                                                                                                                            CLASS ACTION25COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 26 of 53 Page ID #:26




                                                                                                                          1            30. The average consumer spends generally not more than 13 seconds to
                                                                                                                          2   make an in-store purchasing decision.8 That decision is heavily based upon the
                                                                                                                          3   product’s front labeling because consumers do not have time to review and read every
                                                                                                                          4   portion of the label and inspect in detail the rear label which depicts in small print the
                                                                                                                          5   ingredients.
                                                                                                                          6      31.         Defendant’s Knowledge. Defendant knew, or should have known, that
                                                                                                                          7   the Challenged Representation was false, misleading, deceptive, and unlawful, at the
                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                              store observation and interview data collection methodology to realistically estimate
                                                                                                                          9   the degree consumers use nutritional information (found on side/back panels of food
                                                                                                                              product labels and packaging), finding: (1) only 11.6% of respondents, who looked
                                                                                                                         10   at a product and placed it in their shopping cart, were actually observed looking at
                                                                                                                              the side/back panels of its packaging or labels (panels other than the front panel)
                                                                                                                         11   before placing it in the cart; (2) of those who looked at the side/back panels, only
                                                                                                                         12   31.8% looked at it the product “in detail” (i.e., 3.7% of respondents who looked at the
                                                                                                                              product, looked at side/back panels in detail)); and (3) the respondents self-reported
                                                                                                                         13   frequency of reviewing side/back panels (for nutritional information) is
                                                                                                                              overreported by 50% when the in-store interview data and observational data are
                                                                                                                         14   compared); Grunert, Klaus, et. al, Use and understanding of nutrition information on
                                                                                                                         15
                                                                                                                              food labels in six European countries, 18(3) Journal of Public Health 261, 261, 263,
                                                                                                                              266 (2010), available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2967247/
                                                                                                                         16   (last accessed July 20, 2022) (consumer purchasing behavior study using in-store
                                                                                                                              observation and interview data collection methodology to evaluate whether people
                                                                                                                         17   look at food labels before buying them, where they looked, and how long they looked,
                                                                                                                              finding: (1) respondents spent, on average, approximately 35 seconds, per product,
                                                                                                                         18   on products they bought; and (2) 62.6% of respondents looked at the front packaging,
                                                                                                                         19   and only 7.7% looked elsewhere (side/back panels) on the packaging, for products
                                                                                                                              they bought); Benn, Yael, et al., What information do consumers consider and how
                                                                                                                         20   do they look for it, when shopping for groceries online, 89 Appetite 265, 265, 270
                                                                                                                              (2015),                                   available                                  at
                                                                                                                         21   https://www.sciencedirect.com/science/article/pii/S0195666315000422#bib0060
                                                                                                                         22
                                                                                                                              (last accessed Jul. 20, 2022) (consumer purchasing behavior study using online eye-
                                                                                                                              movement tracking and recordation, finding: (1) once on the product webpages,
                                                                                                                         23   respondents tend to look at the pictures of products, rather than examine detailed
                                                                                                                              product information; and (2) by comparison to pictures of products where 13.83-
                                                                                                                         24   19.07% of respondents fixated, far less fixated on subsidiary information: 4.17% of
                                                                                                                              respondents looked at nutrition information, 3.30% ingredients, 2.97% allergy
                                                                                                                         25   information, and 0.09% recycling information for example).
                                                                                                                              8
                                                                                                                         26     Randall Beard, Make the Most of Your Brand’s 20-Second Window, NIELSEN (Jan.
                                                                                                                              13, 2015), https://www.nielsen.com/us/en/insights/article/2015/make-the-most-of-
                                                                                                                         27   your-brands-20-second-windown/ (citing Shopping Takes Only Seconds… In-Store
                                                                                                                         28   and Online, EHRENBERG-BASS INSTITUTE OF MARKETING SCIENCE (2015)) (last
                                                                                                                              visited May 22, 2024).
                                                                                                                                                                      26
                                                                                                                                                           CLASS ACTION26COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 27 of 53 Page ID #:27




                                                                                                                          1   time that Defendant manufactured, marketed, advertised, labeled, and sold the
                                                                                                                          2   Products using the Challenged Representation to Plaintiff and the Class. Defendant
                                                                                                                          3   intentionally and deliberately used the Challenged Representation, alongside its
                                                                                                                          4   massive marketing campaign and brand strategy, to cause Plaintiff and similarly
                                                                                                                          5   situated consumers to buy the Products believing that the Challenged Representation
                                                                                                                          6   is true.
                                                                                                                          7
                                                                                                                                         a. Knowledge of Falsity. Defendant marketed the Products with the
                                                                                                                          8                 Challenged Representation, but Defendant opted to formulate and
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                                            manufacture them in a manner that does not conform to this
                                                                                                                          9                 representation. Specifically, Defendant advertised and labeled the
                                                                                                                                            Products with the Challenged Representation, but, instead of using
                                                                                                                         10
                                                                                                                                            only ingredients that are natural, Defendant chose to make the
                                                                                                                         11                 Products with numerous non-natural.
                                                                                                                         12              b. Knowledge of Reasonable Consumers’ Perception. Defendant
                                                                                                                                            knew, or should have known, that the Challenged Representation
                                                                                                                         13
                                                                                                                                            would lead reasonable consumers into believing that the Products were
                                                                                                                         14                 composed of only natural ingredients—i.e., the Products do not
                                                                                                                                            contain ingredients that are not natural. Not only has Defendant
                                                                                                                         15                 labeled each of the Products with the Challenged Representation and
                                                                                                                                            executed a long-standing brand strategy and advertising campaign to
                                                                                                                         16                 identify the Products with the Challenged Representation, but
                                                                                                                         17                 Defendant also has an obligation under section 5 of the Federal Trade
                                                                                                                                            Commission Act, codified at 15 U.S.C. §§ 45, to evaluate its
                                                                                                                         18                 marketing claims from the perspective of the reasonable consumer.
                                                                                                                                            That means Defendant was statutorily obligated to consider whether
                                                                                                                         19                 the Challenged Representation, be it in isolation or conjunction with
                                                                                                                                            its marketing campaign, would mislead reasonable consumers into
                                                                                                                         20
                                                                                                                                            believing that the Products were made of only natural ingredients.
                                                                                                                         21                 Thus, Defendant either knew the Challenged Representation is
                                                                                                                                            misleading before it marketed the Products to the Class, including
                                                                                                                         22                 Plaintiff, or Defendant would have known that it is deceptive had
                                                                                                                                            Defendant complied with its statutory obligations.
                                                                                                                         23

                                                                                                                         24              c. Knowledge of Materiality. Defendant knew or should have known
                                                                                                                                            that the Challenged Representation is material to consumers. First,
                                                                                                                         25                 manufacturers and marketers, like Defendant, generally reserve the
                                                                                                                                            front primary display panel of labels on consumer products for the
                                                                                                                         26                 most important and persuasive information, which they believe will
                                                                                                                         27                 motivate consumers to buy the products. Here, the conspicuousness of
                                                                                                                                            the Challenged Representation on the Products’ labels demonstrates
                                                                                                                         28                 Defendant’s awareness of its importance to consumers and
                                                                                                                                            Defendant’s understanding that consumers prefer and are motivated to
                                                                                                                                                                    27
                                                                                                                                                         CLASS ACTION27COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 28 of 53 Page ID #:28




                                                                                                                                              buy products that conform to the Challenged Representation. Second,
                                                                                                                          1
                                                                                                                                              manufacturers and marketers repeat marketing claims to emphasize
                                                                                                                          2                   and characterize a brand or product line, shaping the consumers’
                                                                                                                                              expectations, because they believe those repeated messages will drive
                                                                                                                          3                   consumers to buy the Product. Here, the constant, unwavering use of
                                                                                                                                              the Challenged Representation on the Products, advertisements, and
                                                                                                                          4                   throughout Defendant’s marketing campaign, evidence Defendant’s
                                                                                                                          5                   awareness that the falsely advertised Product-attribute is important to
                                                                                                                                              consumers. It also evidences Defendant’s intent to convince
                                                                                                                          6                   consumers that the Products conform to the Challenged
                                                                                                                                              Representation and, ultimately, drive sales.
                                                                                                                          7
                                                                                                                                           d. Defendant Continued Deception, Despite Its Knowledge.
                                                                                                                          8                   Defendant, as the manufacturers and marketers of the Products, had
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                                              exclusive control over the Challenged Representation’s inclusion on
                                                                                                                          9                   the Products’ labels, and advertisements—i.e., Defendant readily and
                                                                                                                                              easily could have stopped using the Challenged Representation to sell
                                                                                                                         10                   the Products. However, despite Defendant’s knowledge of the
                                                                                                                                              Challenged Representation’s falsity, and Defendant’s knowledge that
                                                                                                                         11                   consumers reasonably rely on the Challenged Representation in
                                                                                                                                              deciding to buy the Products, Defendant deliberately chose to market
                                                                                                                         12                   the Products with the Challenged Representation thereby misleading
                                                                                                                                              consumers into buying or otherwise overpaying for the Products.
                                                                                                                         13                   Thus, Defendant knew, or should have known, at all relevant times,
                                                                                                                                              that the Challenged Representation misleads reasonable consumers,
                                                                                                                         14                   such as Plaintiff, into buying the Products to attain the product-
                                                                                                                                              attributes that Defendant falsely advertised and warranted. Indeed,
                                                                                                                         15                   notwithstanding Plaintiff’s demand to Defendant to stop misleading
                                                                                                                                              consumers with the Challenged Representation, Defendant has
                                                                                                                         16                   continued to market the Products using the Challenged
                                                                                                                                              Representation.
                                                                                                                         17
                                                                                                                                    32. By letter dated March 15, 2024, Plaintiff advised Defendant of its false
                                                                                                                         18
                                                                                                                              and misleading claims pursuant to California Civil Code Section 1782, subdivision
                                                                                                                         19
                                                                                                                              (a) regarding Defendant’s use of unnatural and synthetic ingredients. Plaintiff has
                                                                                                                         20
                                                                                                                              provided Defendant with notice of its violations of the CLRA pursuant to Civil Code
                                                                                                                         21
                                                                                                                              § 1782(a).
                                                                                                                         22
                                                                                                                              D.   The Products Are Substantially Similar
                                                                                                                         23
                                                                                                                                    33.    As described supra, Plaintiff purchased the Beard Guyz Beard 2-in-1
                                                                                                                         24
                                                                                                                              Wash & Tame (the “Purchased Products”). The additional unpurchased products,
                                                                                                                         25
                                                                                                                              are substantially similar to the Purchased Products.
                                                                                                                         26
                                                                                                                                      a. Defendant. All Products are manufactured, sold, marketed, advertised,
                                                                                                                         27
                                                                                                                                           labeled, and packaged by the Defendant.
                                                                                                                         28

                                                                                                                                                                     28
                                                                                                                                                          CLASS ACTION28COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 29 of 53 Page ID #:29




                                                                                                                          1              b. Brand. All Products are sold under the BeardGuyz brand name.
                                                                                                                          2              c. Marketing Demographics. All Products are marketed directly to
                                                                                                                          3                 consumers for personal use.
                                                                                                                          4              d. Purpose. All Products are intended for the primary purpose of beard care.
                                                                                                                          5              e. Application. All Products are applied in the same manner – directly on
                                                                                                                          6                 the beard.
                                                                                                                          7              f. False Advertising Claims. All Products contain the same Natural
                                                                                                                          8                 Representation on the Products’ labeling and packaging. In addition, all
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9                 Products prominently display the Natural Representations on the front
                                                                                                                         10                 label in order to focus the consumer’s attention on the Natural
                                                                                                                         11                 Representations.
                                                                                                                         12              g. Key Ingredients. All Products contain a combination of the same non-
                                                                                                                         13                 natural, artificial, synthetic, and highly processed ingredients. In
                                                                                                                         14                 particular, the Purchased Products contain non-natural ingredients that are
                                                                                                                         15                 found in the Unpurchased Products.
                                                                                                                         16              h. Misleading Effect. The misleading effect of the Challenged
                                                                                                                         17                 Representation on consumers are the same for all Products—consumers
                                                                                                                         18                 are tricked into buying or otherwise over-paying a premium for Products
                                                                                                                         19                 that are composed of only natural ingredients, but they receive Products
                                                                                                                         20                 that, contrary to the Products’ labels, also contain many non-natural,
                                                                                                                         21                 synthetic ingredients.
                                                                                                                         22   E.     No Adequate Remedy at Law
                                                                                                                         23        34.      No Adequate Remedy at Law. Plaintiff and members of the Class are
                                                                                                                         24   entitled to equitable relief as no adequate remedy at law exists.
                                                                                                                         25
                                                                                                                                            a. Broader Statutes of Limitations. The statutes of limitations for the
                                                                                                                         26                    causes of action pled herein vary. The limitations period is four years
                                                                                                                                               for claims brought under the UCL, which is one year longer than the
                                                                                                                         27                    statutes of limitations under the FAL and CLRA. In addition, the
                                                                                                                                               statutes of limitations vary for certain states’ laws for breach of
                                                                                                                         28
                                                                                                                                               warranty and unjust enrichment/restitution, between approximately 2
                                                                                                                                                                       29
                                                                                                                                                            CLASS ACTION29COMPLAINT
                                                                                                                              Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 30 of 53 Page ID #:30




                                                                                                                                         and 6 years. Thus, California Subclass members who purchased the
                                                                                                                          1
                                                                                                                                         Products more than 3 years prior to the filing of the complaint will be
                                                                                                                          2              barred from recovery if equitable relief were not permitted under the
                                                                                                                                         UCL. Similarly, Nationwide Class members who purchased the
                                                                                                                          3              Products prior to the furthest reach-back under the statute of
                                                                                                                                         limitations for breach of warranty, will be barred from recovery if
                                                                                                                          4              equitable relief were not permitted for restitution/unjust enrichment.
                                                                                                                          5
                                                                                                                                      b. Broader Scope of Conduct. In addition, the scope of actionable
                                                                                                                          6              misconduct under the unfair prong of the UCL is broader than the other
                                                                                                                                         causes of action asserted herein. It includes, for example, Defendant
                                                                                                                          7              overall unfair marketing scheme to promote and brand the Products
                                                                                                                          8              with the Challenged Representation, across a multitude of media
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                                         platforms, including the Products’ labels, over a long period of time,
                                                                                                                          9              in order to gain an unfair advantage over competitor products and to
                                                                                                                                         take advantage of consumers’ desire for products that comport with
                                                                                                                         10              the Challenged Representation. The UCL also creates a cause of action
                                                                                                                                         for violations of law (such as statutory or regulatory requirements and
                                                                                                                         11
                                                                                                                                         court orders related to similar representation and omission made on
                                                                                                                         12              the type of products at issue). Thus, Plaintiff and Class members may
                                                                                                                                         be entitled to restitution under the UCL, while not entitled to damages
                                                                                                                         13              under other causes of action asserted herein (e.g., the FAL requires
                                                                                                                                         actual or constructive knowledge of the falsity; the CLRA is limited
                                                                                                                         14              to certain types of plaintiff (an individual who seeks or acquires, by
                                                                                                                         15              purchase or lease, any goods or services for personal, family, or
                                                                                                                                         household purposes) and other statutorily enumerated conduct).
                                                                                                                         16              Similarly, unjust enrichment/restitution is broader than breach of
                                                                                                                                         warranty. For example, in some states, breach of warranty may
                                                                                                                         17              require privity of contract or pre-lawsuit notice, which are not
                                                                                                                                         typically required to establish unjust enrichment/restitution. Thus,
                                                                                                                         18
                                                                                                                                         Plaintiff and Class members may be entitled to recover under unjust
                                                                                                                         19              enrichment/restitution, while not entitled to damages under breach of
                                                                                                                                         warranty, because they purchased the products from third-party
                                                                                                                         20              retailers or did not provide adequate notice of a breach prior to the
                                                                                                                                         commencement of this action.
                                                                                                                         21

                                                                                                                         22           c. Injunctive Relief to Cease Misconduct and Dispel Misperception.
                                                                                                                                         Injunctive relief is appropriate on behalf of Plaintiff and members of
                                                                                                                         23              the Class because Defendant continues to misrepresent the Products
                                                                                                                                         with the Challenged Representation. Injunctive relief is necessary to
                                                                                                                         24              prevent Defendant from continuing to engage in the unfair, fraudulent,
                                                                                                                         25              and/or unlawful conduct described herein and to prevent future
                                                                                                                                         harm—none of which can be achieved through available legal
                                                                                                                         26              remedies (such as monetary damages to compensate past harm).
                                                                                                                                         Further, injunctive relief, in the form of affirmative disclosures is
                                                                                                                         27              necessary to dispel the public misperception about the Products that
                                                                                                                                         has resulted from years of Defendant’s unfair, fraudulent, and
                                                                                                                         28
                                                                                                                                         unlawful marketing efforts. Such disclosures would include, but are
                                                                                                                                                                 30
                                                                                                                                                      CLASS ACTION30COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 31 of 53 Page ID #:31




                                                                                                                                             not limited to, publicly disseminated statements that the Products’
                                                                                                                          1
                                                                                                                                             Challenged Representation is not true and providing accurate
                                                                                                                          2                  information about the Products’ true nature; and/or requiring
                                                                                                                                             prominent qualifications and/or disclaimers on the Products’ front
                                                                                                                          3                  label concerning the Products’ true nature. An injunction requiring
                                                                                                                                             affirmative disclosures to dispel the public’s misperception and
                                                                                                                          4                  prevent the ongoing deception and repeat purchases based thereon, is
                                                                                                                          5                  also not available through a legal remedy (such as monetary damages).
                                                                                                                                             In addition, Plaintiff is currently unable to accurately quantify the
                                                                                                                          6                  damages caused by Defendant future harm, because discovery and
                                                                                                                                             Plaintiff’s investigation have not yet completed, rendering injunctive
                                                                                                                          7                  relief all the more necessary. For example, because the court has not
                                                                                                                                             yet certified any class, the following remains unknown: the scope of
                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                                             the class, the identities of its members, their respective purchasing
                                                                                                                          9                  practices, prices of past/future Products sales, and quantities of
                                                                                                                                             past/future Products sales.
                                                                                                                         10
                                                                                                                                         d. Public Injunction. Further, because a “public injunction” is available
                                                                                                                         11
                                                                                                                                            under the UCL, damages will not adequately “benefit the general
                                                                                                                         12                 public” in a manner equivalent to an injunction.
                                                                                                                         13              e. California vs. Nationwide Class Claims. Violation of the UCL, FAL,
                                                                                                                                            and CLRA are claims asserted on behalf of Plaintiff and the California
                                                                                                                         14
                                                                                                                                            Subclass against Defendant, while breach of warranty and unjust
                                                                                                                         15                 enrichment/restitution are asserted on behalf of Plaintiff and the
                                                                                                                                            Nationwide Class. Dismissal of farther-reaching claims, such as
                                                                                                                         16                 restitution, would bar recovery for non-California members of the
                                                                                                                                            Class. In other words, legal remedies available or adequate under the
                                                                                                                         17                 California-specific causes of action (such as the UCL, FAL, and
                                                                                                                         18                 CLRA) have no impact on this Court’s jurisdiction to award equitable
                                                                                                                                            relief under the remaining causes of action asserted on behalf of non-
                                                                                                                         19                 California putative class members.
                                                                                                                         20                                 CLASS ALLEGATIONS
                                                                                                                         21         35. Class Definition. Plaintiff brings this action as a class action pursuant to
                                                                                                                         22   Federal Rules of Civil Procedure 23(b)(2) and 23(b)(3) on behalf of himself and all
                                                                                                                         23   others similarly situated, and as members of the Classes defined as follows:
                                                                                                                         24
                                                                                                                                         All persons or entities that, within the applicable statute of
                                                                                                                         25              limitations periods, purchased the Products in the United States,
                                                                                                                                         displaying the Challenged Representation on the Products’
                                                                                                                         26
                                                                                                                                         labels, for purposes other than resale (“Nationwide Class”); and
                                                                                                                         27
                                                                                                                                         All persons or entities that, within four years prior to the filing of
                                                                                                                         28              this Complaint through present, purchased the Products in
                                                                                                                                         California, displaying the Challenged Representation on the
                                                                                                                                                                     31
                                                                                                                                                          CLASS ACTION31COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 32 of 53 Page ID #:32




                                                                                                                                          Products’ labels, for purposes other than resale (“California
                                                                                                                          1
                                                                                                                                          Subclass”).
                                                                                                                          2
                                                                                                                              (“Nationwide Class” and “California Subclass,” collectively, “Class”).
                                                                                                                          3         36. Class Definition Exclusions. Excluded from the Class are: (i) Defendant,
                                                                                                                          4   its assigns, successors, and legal representatives; (ii) any entities in which Defendant
                                                                                                                          5   has controlling interests; (iii) federal, state, and/or local governments, including, but
                                                                                                                          6   not limited to, their departments, agencies, divisions, bureaus, boards, sections,
                                                                                                                          7   groups, counsels, and/or subdivisions; and (iv) any judicial officer presiding over this
                                                                                                                          8   matter and person within the third degree of consanguinity to such judicial officer.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9         37. Reservation of Rights to Amend the Class Definition. Plaintiff reserves
                                                                                                                         10   the right to amend or otherwise alter the class definitions presented to the Court at the
                                                                                                                         11   appropriate time in response to facts learned through discovery, legal arguments
                                                                                                                         12   advanced by Defendant, or otherwise.
                                                                                                                         13         38. Numerosity: Members of the Class are so numerous that joinder of all
                                                                                                                         14   members is impracticable. Upon information and belief, the Nationwide Class
                                                                                                                         15   consists of tens of thousands of purchasers (if not more) dispersed throughout the
                                                                                                                         16   United States, and the California Subclass likewise consists of thousands of
                                                                                                                         17   purchasers (if not more) dispersed throughout the State of California. Accordingly, it
                                                                                                                         18   would be impracticable to join all members of the Class before the Court.
                                                                                                                         19         39. Common Questions Predominate: There are numerous and substantial
                                                                                                                         20   questions of law or fact common to all members of the Class that predominate over
                                                                                                                         21   any individual issues. Included within the common questions of law or fact are:
                                                                                                                         22

                                                                                                                         23        a.     Whether Defendant engaged in unlawful, unfair or deceptive business
                                                                                                                                          practices by advertising and selling the Products;
                                                                                                                         24
                                                                                                                                   b.     Whether Defendant’s conduct of advertising and selling the Products as
                                                                                                                         25               only containing natural ingredients, creating the reasonable assumption
                                                                                                                         26               that the Products’ do not contain any non-natural ingredients, when each
                                                                                                                                          of the Products contain some combination of non-natural ingredients,
                                                                                                                         27               constitutes an unfair method of competition, or unfair or deceptive act or
                                                                                                                                          practice, in violation of Civil Code section 1750, et seq.;
                                                                                                                         28

                                                                                                                                                                      32
                                                                                                                                                           CLASS ACTION32COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 33 of 53 Page ID #:33




                                                                                                                                   c.    Whether Defendant used deceptive representation in connection with the
                                                                                                                          1
                                                                                                                                         sale of the Products in violation of Civil Code section 1750, et seq.;
                                                                                                                          2
                                                                                                                                   d.    Whether Defendant represented that the Products have characteristics or
                                                                                                                          3              quantities that they do not have in violation of Civil Code section 1750,
                                                                                                                                         et seq.;
                                                                                                                          4
                                                                                                                                   e.    Whether Defendant advertised the Products with intent not to sell them as
                                                                                                                          5
                                                                                                                                         advertised in violation of Civil Code section 1750, et seq.;
                                                                                                                          6
                                                                                                                                   f.    Whether Defendant’s labeling and advertising of the Products is untrue
                                                                                                                          7              or misleading in violation of Business and Professions Code section
                                                                                                                                         17500, et seq.;
                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9        g.    Whether Defendant knew or by the exercise of reasonable care should
                                                                                                                                         have known its labeling and advertising was and is untrue or misleading
                                                                                                                         10              in violation of Business and Professions Code section 17500, et seq.;
                                                                                                                         11        h.    Whether Defendant’s conduct is an unfair business practice within the
                                                                                                                                         meaning of Business and Professions Code section 17200, et seq.;
                                                                                                                         12

                                                                                                                         13        i.    Whether Defendant’s conduct is a fraudulent business practice within the
                                                                                                                                         meaning of Business and Professions Code section 17200, et seq.;
                                                                                                                         14
                                                                                                                                   j.    Whether Defendant’s conduct is an unlawful business practice within the
                                                                                                                         15              meaning of Business and Professions Code section 17200, et seq.;
                                                                                                                         16
                                                                                                                                   k.    Whether Plaintiff and the Class paid more money for the Products than
                                                                                                                         17              they actually received;
                                                                                                                         18        l.    How much more money Plaintiff and the Class paid for the Products than
                                                                                                                                         they actually received;
                                                                                                                         19

                                                                                                                         20        m.    Whether Defendant’s conduct constitutes breach of warranty;
                                                                                                                         21        n.    Whether Plaintiff and the Class are entitled to injunctive relief; and
                                                                                                                         22        o.    Whether Defendant was unjustly enriched by its unlawful conduct.
                                                                                                                         23

                                                                                                                         24         40. Typicality: Plaintiff’s claims are typical of the claims of the Class
                                                                                                                         25   Members she seeks to represent because Plaintiff, like the Class Members, purchased
                                                                                                                         26   Defendant’s misleading and deceptive Products. Defendant’s unlawful, unfair and/or
                                                                                                                         27   fraudulent actions concern the same business practices described herein irrespective
                                                                                                                         28   of where they occurred or were experienced. Plaintiff and the Class sustained similar
                                                                                                                                                                    33
                                                                                                                                                         CLASS ACTION33COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 34 of 53 Page ID #:34




                                                                                                                          1   injuries arising out of Defendant’s conduct. Plaintiff’s and Class Members’ claims
                                                                                                                          2   arise from the same practices and course of conduct and are based on the same legal
                                                                                                                          3   theories.
                                                                                                                          4         41. Adequacy: Plaintiff is an adequate representative of the Class he seeks to
                                                                                                                          5   represent because his interests do not conflict with the interests of the Class Members
                                                                                                                          6   Plaintiff seeks to represent. Plaintiff will fairly and adequately protect Class
                                                                                                                          7   Members’ interests and has retained counsel experienced and competent in the
                                                                                                                          8   prosecution of complex class actions, including complex questions that arise in
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   consumer protection litigation.
                                                                                                                         10         42. Superiority and Substantial Benefit: A class action is superior to other
                                                                                                                         11   methods for the fair and efficient adjudication of this controversy, since individual
                                                                                                                         12   joinder of all members of the Class is impracticable and no other group method of
                                                                                                                         13   adjudication of all claims asserted herein is more efficient and manageable for at least
                                                                                                                         14   the following reasons:
                                                                                                                         15        a.     The claims presented in this case predominate over any questions of law
                                                                                                                         16               or fact, if any exist at all, affecting any individual member of the Class;

                                                                                                                         17        b.     Absent a Class, the members of the Class will continue to suffer damage
                                                                                                                                          and Defendant’s unlawful conduct will continue without remedy while
                                                                                                                         18               Defendant profits from and enjoy its ill-gotten gains;
                                                                                                                         19
                                                                                                                                   c.     Given the size of individual Class Members’ claims, few, if any, Class
                                                                                                                         20               Members could afford to or would seek legal redress individually for the
                                                                                                                                          wrongs Defendant committed against them, and absent Class Members
                                                                                                                         21               have no substantial interest in individually controlling the prosecution of
                                                                                                                                          individual actions;
                                                                                                                         22

                                                                                                                         23        d.     When the liability of Defendant has been adjudicated, claims of all
                                                                                                                                          members of the Class can be administered efficiently and/or determined
                                                                                                                         24               uniformly by the Court; and
                                                                                                                         25        e.     This action presents no difficulty that would impede its management by
                                                                                                                                          the Court as a class action, which is the best available means by which
                                                                                                                         26
                                                                                                                                          Plaintiff and Class Members can seek redress for the harm caused to them
                                                                                                                         27               by Defendant.
                                                                                                                         28

                                                                                                                                                                     34
                                                                                                                                                          CLASS ACTION34COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 35 of 53 Page ID #:35




                                                                                                                          1      43.        Inconsistent Rulings. Because Plaintiff seeks relief for all members of
                                                                                                                          2   the Class, the prosecution of separate actions by individual members would create a
                                                                                                                          3   risk of inconsistent or varying adjudications with respect to individual members of
                                                                                                                          4   the Class, which would establish incompatible standards of conduct for Defendant.
                                                                                                                          5      44.        Injunctive/Equitable Relief. The prerequisites to maintaining a class
                                                                                                                          6   action for injunctive or equitable relief pursuant to Fed. R. Civ. P. 23(b)(2) are met as
                                                                                                                          7   Defendant has acted or refused to act on grounds generally applicable to the Class,
                                                                                                                          8   thereby making appropriate final injunctive or equitable relief with respect to the
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   Class as a whole.
                                                                                                                         10      45.        Manageability. Plaintiff and Plaintiff’s counsel are unaware of any
                                                                                                                         11   difficulties that are likely to be encountered in the management of this action that
                                                                                                                         12   would preclude its maintenance as a class action.
                                                                                                                         13                                     COUNT ONE
                                                                                                                                                 Violation of California Unfair Competition Law
                                                                                                                         14
                                                                                                                                                    (Cal. Bus. & Prof. Code §§ 17200, et seq.)
                                                                                                                         15
                                                                                                                                                      (On Behalf of the California Subclass)
                                                                                                                         16
                                                                                                                                       46. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                                                                         17
                                                                                                                              reference all allegations contained in this complaint, as though fully set forth herein.
                                                                                                                         18
                                                                                                                                       47. California Subclass. This cause of action is brought pursuant to Business
                                                                                                                         19
                                                                                                                              and Professions Code Section 17200, et seq., on behalf of Plaintiff and a California
                                                                                                                         20
                                                                                                                              Subclass who purchased the Products within the applicable statute of limitations.
                                                                                                                         21
                                                                                                                                       48. The UCL. California Business & Professions Code, sections 17200, et
                                                                                                                         22
                                                                                                                              seq. (the “UCL”) prohibits unfair competition and provides, in pertinent part, that
                                                                                                                         23
                                                                                                                              “unfair competition shall mean and include unlawful, unfair or fraudulent business
                                                                                                                         24
                                                                                                                              practices and unfair, deceptive, untrue or misleading advertising.”
                                                                                                                         25
                                                                                                                                       49. False Advertising Claims. Defendant, in its labeling and advertising of
                                                                                                                         26
                                                                                                                              the Products, made false and misleading statements and fraudulent omissions
                                                                                                                         27
                                                                                                                              regarding the quality and characteristics of the Products—specifically, the Challenged
                                                                                                                         28

                                                                                                                                                                       35
                                                                                                                                                            CLASS ACTION35COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 36 of 53 Page ID #:36




                                                                                                                          1   Representation (i.e., that the Products are composed of only natural ingredients) —
                                                                                                                          2   despite the fact the Products also contain some combination of seventeen non-natural,
                                                                                                                          3   synthetic ingredients. Such claim and omission appear on the front labels of the
                                                                                                                          4   Products, which are sold at retail stores, point-of-purchase displays, and online.
                                                                                                                          5         50. Defendant’s Deliberately False and Fraudulent Marketing Scheme.
                                                                                                                          6   Defendant does not have any reasonable basis for the claims about the Products made
                                                                                                                          7   in Defendant’s advertising and on Defendant’s labeling because the Products non-
                                                                                                                          8   natural, synthetic, and/or artificial. Defendant knew and knows that the Products
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   contain non-natural, yet Defendant intentionally advertises and markets the Products
                                                                                                                         10   to cause reasonable consumers to believe that the Products are natural.
                                                                                                                         11         51. False Advertising Claims Cause Purchase of Products. Defendant’s
                                                                                                                         12   labeling and advertising of the Products led to, and continues to lead to, reasonable
                                                                                                                         13   consumers, including Plaintiff, believing that the Products contained only natural
                                                                                                                         14   ingredients, to the exclusion of non-natural, synthetic ingredients.
                                                                                                                         15         52. Injury In Fact. Plaintiff and the California Subclass have suffered injury
                                                                                                                         16   in fact and have lost money or property as a result of and in reliance upon Defendant’s
                                                                                                                         17   Challenged Representation—namely Plaintiff and the California Subclass lost the
                                                                                                                         18   purchase price for the Products they bought from the Defendant.
                                                                                                                         19         53. Conduct Violates the UCL. Defendant’s conduct, as alleged herein,
                                                                                                                         20   constitutes unfair, unlawful, and fraudulent business practices pursuant to the UCL.
                                                                                                                         21   The UCL prohibits unfair competition and provides, in pertinent part, that “unfair
                                                                                                                         22   competition shall mean and include unlawful, unfair or fraudulent business practices
                                                                                                                         23   and unfair, deceptive, untrue or misleading advertising.” Cal. Bus & Prof. Code §
                                                                                                                         24   17200. In addition, Defendant’s use of various forms of advertising media to
                                                                                                                         25   advertise, call attention to, or give publicity to the sale of goods or merchandise that
                                                                                                                         26   are not as represented in any manner constitutes unfair competition, unfair, deceptive,
                                                                                                                         27   untrue or misleading advertising, and an unlawful business practice within the
                                                                                                                         28   meaning of Business and Professions Code Sections 17200 and 17531, which
                                                                                                                                                                     36
                                                                                                                                                          CLASS ACTION36COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 37 of 53 Page ID #:37




                                                                                                                          1   advertisements have deceived and are likely to deceive the consuming public, in
                                                                                                                          2   violation of Business and Professions Code Section 17200.
                                                                                                                          3          54. No Reasonably Available Alternatives/Legitimate Business Interests.
                                                                                                                          4   Defendant failed to avail itself of reasonably available, lawful alternatives to further
                                                                                                                          5   its legitimate business interests.
                                                                                                                          6          55. Business Practice. All of the conduct alleged herein occurred and
                                                                                                                          7   continues to occur in Defendant’s business. Defendant’s wrongful conduct is part of
                                                                                                                          8   a pattern, practice and/or generalized course of conduct, which will continue on a
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   daily basis until Defendant voluntarily alters its conduct or Defendant is otherwise
                                                                                                                         10   ordered to do so.
                                                                                                                         11          56. Injunction. Pursuant to Business and Professions Code Sections 17203
                                                                                                                         12   and 17535, Plaintiff and the members of the California Subclass seek an order of this
                                                                                                                         13   Court enjoining Defendant from continuing to engage, use, or employ its practice of
                                                                                                                         14   labeling and advertising the sale and use of the Products. Likewise, Plaintiff and the
                                                                                                                         15   members of the California Subclass seek an order requiring Defendant to disclose
                                                                                                                         16   such misrepresentation, and to preclude Defendant’s failure to disclose the existence
                                                                                                                         17   and significance of said misrepresentation.
                                                                                                                         18          57. Causation/Damages. As a direct and proximate result of Defendant’s
                                                                                                                         19   misconduct in violation of the UCL, Plaintiff and members of the California Subclass
                                                                                                                         20   were harmed in the amount of the purchase price they paid for the Products. Further,
                                                                                                                         21   Plaintiff and members of the California Subclass have suffered and continue to suffer
                                                                                                                         22   economic losses and other damages including, but not limited to, the amounts paid
                                                                                                                         23   for the Products, and any interest that would have accrued on those monies, in an
                                                                                                                         24   amount to be proven at trial. Accordingly, Plaintiff seeks a monetary award for
                                                                                                                         25   violation of the UCL in damages, restitution, and/or disgorgement of ill-gotten gains
                                                                                                                         26   to compensate Plaintiff and the California Subclass for said monies, as well as
                                                                                                                         27   injunctive relief to enjoin Defendant’s misconduct to prevent ongoing and future harm
                                                                                                                         28   that will result.
                                                                                                                                                                      37
                                                                                                                                                           CLASS ACTION37COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 38 of 53 Page ID #:38




                                                                                                                          1         58. Punitive Damages. Plaintiff seeks punitive damages pursuant to this
                                                                                                                          2   cause of action for violation of the UCL on behalf of Plaintiff and the California
                                                                                                                          3   Subclass. Defendant’s unfair, fraudulent, and unlawful conduct described herein
                                                                                                                          4   constitutes malicious, oppressive, and/or fraudulent conduct warranting an award of
                                                                                                                          5   punitive damages as permitted by law. Defendant’s misconduct is malicious as
                                                                                                                          6   Defendant acted with the intent to cause Plaintiff and consumers to pay for Products
                                                                                                                          7   that they were not, in fact, receiving. Defendant willfully and knowingly disregarded
                                                                                                                          8   the rights of Plaintiff and consumers as Defendant was, at all times, aware of the
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   probable dangerous consequences of its conduct and deliberately failed to avoid
                                                                                                                         10   misleading consumers, including Plaintiff. Defendant’s misconduct is oppressive as,
                                                                                                                         11   at all relevant times, said conduct was so vile, base, and/or contemptible that
                                                                                                                         12   reasonable people would look down upon it and/or otherwise would despise such
                                                                                                                         13   corporate misconduct. Said misconduct subjected Plaintiff and consumers to cruel
                                                                                                                         14   and unjust hardship in knowing disregard of their rights. Defendant’s misconduct is
                                                                                                                         15   fraudulent as Defendant intentionally misrepresented and/or concealed material facts
                                                                                                                         16   with the intent to deceive Plaintiff and consumers. The wrongful conduct constituting
                                                                                                                         17   malice, oppression, and/or fraud was committed, authorized, adopted, approved,
                                                                                                                         18   and/or ratified by officers, directors, and/or managing agents of Defendant.
                                                                                                                         19                                     “Unfair” Prong
                                                                                                                         20         59. Unfair Standard. Under the UCL, a challenged activity is “unfair” when
                                                                                                                         21   “any injury it causes outweighs any benefits provided to consumers and the injury is
                                                                                                                         22   one that the consumers themselves could not reasonably avoid.” Camacho v. Auto
                                                                                                                         23   Club of Southern California, 142 Cal. App. 4th 1394, 1403 (2006).
                                                                                                                         24         60. Injury. Defendant’s action of mislabeling the Products with the
                                                                                                                         25   Challenged Representation do not confer any benefit to consumers; rather, doing so
                                                                                                                         26   causes injuries to consumers, who do not receive products commensurate with their
                                                                                                                         27   reasonable expectations, overpay for the Products, and receive Products of lesser
                                                                                                                         28   standards than what they reasonably expected to receive. Consumers cannot avoid
                                                                                                                                                                     38
                                                                                                                                                          CLASS ACTION38COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 39 of 53 Page ID #:39




                                                                                                                          1   any of the injuries caused by Defendant’s deceptive labeling and/or advertising of the
                                                                                                                          2   Products. Accordingly, the injuries caused by Defendant’s deceptive labeling and
                                                                                                                          3   advertising outweigh any benefits.
                                                                                                                          4         61. Balancing Test. Some courts conduct a balancing test to decide if a
                                                                                                                          5   challenged activity amounts to unfair conduct under California Business and
                                                                                                                          6   Professions Code Section 17200. They “weigh the utility of the defendants’ conduct
                                                                                                                          7   against the gravity of the harm to the alleged victim.” Davis v. HSBC Bank Nevada,
                                                                                                                          8   N.A., 691 F.3d 1152, 1169 (9th Cir. 2012).
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9         62. No Utility. Here, Defendant’s conduct of labeling the Products as made
                                                                                                                         10   with natural ingredients—when the Products contain numerous non-natural
                                                                                                                         11   ingredients, has no utility and financially harms purchasers. Thus, the utility of
                                                                                                                         12   Defendant’s conduct is vastly outweighed by the gravity of harm.
                                                                                                                         13         63. Legislative Declared Policy. Some courts require that “unfairness must
                                                                                                                         14   be tethered to some legislative declared policy or proof of some actual or threatened
                                                                                                                         15   impact on competition.” Lozano v. AT&T Wireless Servs. Inc., 504 F. 3d 718, 735
                                                                                                                         16   (9th Cir. 2007).
                                                                                                                         17         64. Unfair Conduct. Defendant’s labeling and advertising of the Products,
                                                                                                                         18   as alleged herein, is false, deceptive, misleading, and unreasonable, and constitutes
                                                                                                                         19   unfair conduct. Defendant knew or should have known of their unfair conduct.
                                                                                                                         20   Defendant’s misrepresentation constitutes an unfair business practice within the
                                                                                                                         21   meaning of California Business and Professions Code Section 17200.
                                                                                                                         22         65. Reasonably Available Alternatives. There existed reasonably available
                                                                                                                         23   alternatives to further Defendant’s legitimate business interests, other than the
                                                                                                                         24   conduct described herein. Defendant could have refrained from labeling the Products
                                                                                                                         25   with the Challenged Representation.
                                                                                                                         26         66. Defendant’s Wrongful Conduct. All of the conduct alleged herein
                                                                                                                         27   occurs and continues to occur in Defendant’s business. Defendant’s wrongful conduct
                                                                                                                         28

                                                                                                                                                                     39
                                                                                                                                                          CLASS ACTION39COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 40 of 53 Page ID #:40




                                                                                                                          1   is part of a pattern or generalized course of conduct repeated on thousands of
                                                                                                                          2   occasions daily.
                                                                                                                          3         67. Injunction. Pursuant to Business and Professions Code Sections 17203,
                                                                                                                          4   Plaintiff and the California Subclass seek an order of this Court enjoining Defendant
                                                                                                                          5   from continuing to engage, use, or employ its practices of labeling the Products with
                                                                                                                          6   the Challenged Representation.
                                                                                                                          7         68. Causation/Damages. Plaintiff and the California Subclass have suffered
                                                                                                                          8   injury in fact and have lost money as a result of Defendant’s unfair conduct. Plaintiff
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   and the California Subclass paid an unwarranted premium for the Products.
                                                                                                                         10   Specifically, Plaintiff and the California Subclass paid for Products that were
                                                                                                                         11   supposedly made with only natural ingredients, but instead purchased Products that
                                                                                                                         12   contain numerous non-natural ingredients. Plaintiff and the California Subclass would
                                                                                                                         13   not have purchased the Products, or would have paid substantially less for the
                                                                                                                         14   Products, if they had known that the Products’ advertising and labeling were
                                                                                                                         15   deceptive. Accordingly, Plaintiff seeks damages, restitution and/or disgorgement of
                                                                                                                         16   ill-gotten gains pursuant to the UCL.
                                                                                                                         17                                    “Fraudulent” Prong
                                                                                                                         18         69. Fraud Standard. The UCL considers conduct fraudulent (and prohibits
                                                                                                                         19   said conduct) if it is likely to deceive members of the public. Bank of the West v.
                                                                                                                         20   Superior Court, 2 Cal. 4th 1254, 1267 (1992).
                                                                                                                         21         70. Fraudulent & Material Challenged Representation. Defendant used
                                                                                                                         22   the Challenged Representation with the intent to sell the Products to consumers,
                                                                                                                         23   including Plaintiff and the California Subclass. The Challenged Representation is
                                                                                                                         24   false, and Defendant knew or should have known of its falsity. The Challenged
                                                                                                                         25   Representation is likely to deceive consumers into purchasing the Products because it
                                                                                                                         26   is material to the average, ordinary, and reasonable consumer.
                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                     40
                                                                                                                                                          CLASS ACTION40COMPLAINT
                                                                                                                                    Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 41 of 53 Page ID #:41




                                                                                                                          1            71. Fraudulent Business Practice. As alleged herein, the misrepresentation
                                                                                                                          2   by Defendant constitutes a fraudulent business practice in violation of California
                                                                                                                          3   Business & Professions Code Section 17200.
                                                                                                                          4            72. Reasonable and Detrimental Reliance. Plaintiff and the California
                                                                                                                          5   Subclass reasonably and detrimentally relied on the material and false Challenged
                                                                                                                          6   Representation to their detriment in that they purchased the Products.
                                                                                                                          7            73. Reasonably Available Alternatives. Defendant had reasonably
                                                                                                                          8   available alternatives to further its legitimate business interests, other than the conduct
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   described herein. Defendant could have refrained from labeling the Products with the
                                                                                                                         10   Challenged Representation.
                                                                                                                         11            74. Business Practice. All of the conduct alleged herein occurs and continues
                                                                                                                         12   to occur in Defendant’s business. Defendant’s wrongful conduct is part of a pattern
                                                                                                                         13   or generalized course of conduct.
                                                                                                                         14            75. Injunction. Pursuant to Business and Professions Code Sections 17203,
                                                                                                                         15   Plaintiff and the California Subclass seek an order of this Court enjoining Defendant
                                                                                                                         16   from continuing to engage, use, or employ its practice of labeling the Products with
                                                                                                                         17   the Challenged Representation.
                                                                                                                         18            76. Causation/Damages. Plaintiff and the California Subclass have suffered
                                                                                                                         19   injury in fact and have lost money as a result of Defendant’s unfair conduct. Plaintiff
                                                                                                                         20   and the California Subclass paid an unwarranted premium for the Products.
                                                                                                                         21   Specifically, Plaintiff and the California Subclass paid for Products that were
                                                                                                                         22   supposedly made with only natural ingredients, but instead purchased Products that
                                                                                                                         23   contain numerous non-natural ingredients. Plaintiff and the California Subclass would
                                                                                                                         24   not have purchased the Products, or would have paid substantially less for the
                                                                                                                         25   Products, if they had known that the Products’ advertising and labeling were
                                                                                                                         26   deceptive. Accordingly, Plaintiff seeks damages, restitution and/or disgorgement of
                                                                                                                         27   ill-gotten gains pursuant to the UCL.
                                                                                                                         28   ///
                                                                                                                                                                       41
                                                                                                                                                            CLASS ACTION41COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 42 of 53 Page ID #:42




                                                                                                                          1                                      “Unlawful” Prong
                                                                                                                          2         77. Unlawful Standard. The UCL identifies violations of other laws as
                                                                                                                          3   “unlawful practices that the unfair competition law makes independently actionable.”
                                                                                                                          4   Velazquez v. GMAC Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D. Cal. 2008).
                                                                                                                          5         78. Violations of CLRA and FAL. Defendant’s labeling of the Products, as
                                                                                                                          6   alleged herein, violates California Civil Code sections 1750, et seq. (the “CLRA”)
                                                                                                                          7   and California Business and Professions Code sections 17500, et seq. (the “FAL”) as
                                                                                                                          8   set forth below in the sections regarding those causes of action.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9         79. Additional Violations. Defendant’s conduct in making the false
                                                                                                                         10   representation described herein constitutes a knowing failure to adopt policies in
                                                                                                                         11   accordance with and/or adherence to applicable laws, as set forth herein, all of which
                                                                                                                         12   are binding upon and burdensome to its competitors. This conduct engenders an unfair
                                                                                                                         13   competitive advantage for Defendant, thereby constituting an unfair, fraudulent
                                                                                                                         14   and/or unlawful business practice under California Business & Professions Code
                                                                                                                         15   sections 17200-17208. Additionally, Defendant’s misrepresentation of material facts,
                                                                                                                         16   as set forth herein, violates California Civil Code sections 1572, 1573, 1709, 1710,
                                                                                                                         17   1711, and 1770, as well as the common law.
                                                                                                                         18         80. Unlawful Conduct. Defendant’s labeling and advertising of the
                                                                                                                         19   Products, as alleged herein, are false, deceptive, misleading, and unreasonable, and
                                                                                                                         20   constitute unlawful conduct. Defendant knew or should have known of its unlawful
                                                                                                                         21   conduct.
                                                                                                                         22         81. Reasonably Available Alternatives. Defendant had reasonably
                                                                                                                         23   available alternatives to further its legitimate business interests, other than the conduct
                                                                                                                         24   described herein. Defendant could have refrained from labeling the Products with the
                                                                                                                         25   Challenged Representation and/or omitting that the Products contained non-natural
                                                                                                                         26   ingredients.
                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                      42
                                                                                                                                                           CLASS ACTION42COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 43 of 53 Page ID #:43




                                                                                                                          1         82. Business Practice. All of the conduct alleged herein occurs and continues
                                                                                                                          2   to occur in Defendant’s business. Defendant’s wrongful conduct is part of a pattern
                                                                                                                          3   or generalized course of conduct.
                                                                                                                          4         83. Injunction. Pursuant to Business and Professions Code Section 17203,
                                                                                                                          5   Plaintiff and the California Subclass seek an order of this Court enjoining Defendant
                                                                                                                          6   from continuing to engage, use, or employ its practice of false and deceptive
                                                                                                                          7   advertising of the Products.
                                                                                                                          8         84. Causation/Damages. Plaintiff and the California Subclass have suffered
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   injury in fact and have lost money as a result of Defendant’s unfair conduct. Plaintiff
                                                                                                                         10   and the California Subclass paid an unwarranted premium for the Products.
                                                                                                                         11   Specifically, Plaintiff and the California Subclass paid for Products that were
                                                                                                                         12   supposedly comprised of only natural ingredients, but instead purchased Products that
                                                                                                                         13   contain numerous non-natural ingredients. Plaintiff and the California Subclass would
                                                                                                                         14   not have purchased the Products, or would have paid substantially less for the
                                                                                                                         15   Products, if they had known that the Products’ advertising and labeling were
                                                                                                                         16   deceptive. Accordingly, Plaintiff seeks damages, restitution and/or disgorgement of
                                                                                                                         17   ill-gotten gains pursuant to the UCL.
                                                                                                                         18                                        COUNT TWO
                                                                                                                         19                      Violation of California False Advertising Law
                                                                                                                         20                         (Cal. Bus. & Prof. Code §§ 17500, et seq.)
                                                                                                                         21                             (On Behalf of the California Subclass)
                                                                                                                         22         85. Incorporation by reference. Plaintiff re-alleges and incorporates by
                                                                                                                         23   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                                                                         24         86. California Subclass. Plaintiff brings this claim individually and on
                                                                                                                         25   behalf of the California Subclass who purchased the Products within the applicable
                                                                                                                         26   statute of limitations.
                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                        43
                                                                                                                                                             CLASS ACTION43COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 44 of 53 Page ID #:44




                                                                                                                          1         87. FAL Standard. The False Advertising Law, codified at Cal. Bus. & Prof.
                                                                                                                          2   Code section 17500, et seq., prohibits “unfair, deceptive, untrue or misleading
                                                                                                                          3   advertising[.]”
                                                                                                                          4         88. False & Material Challenged Representation Disseminated to Public.
                                                                                                                          5   Defendant violated section 17500 when it advertised and marketed the Products
                                                                                                                          6   through the unfair, deceptive, untrue, and misleading Challenged Representation
                                                                                                                          7   disseminated to the public through the Products’ labeling, marketing, and advertising.
                                                                                                                          8   This representation was false because the Products do not conform to it. The
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   representation was material because it is likely to mislead a reasonable consumer into
                                                                                                                         10   purchasing the Products.
                                                                                                                         11         89. Knowledge. In making and disseminating the representation alleged
                                                                                                                         12   herein, Defendant knew or should have known that the representation was untrue or
                                                                                                                         13   misleading, and acted in violation of § 17500.
                                                                                                                         14         90. Intent to Sell. Defendant’s Challenged Representation was specifically
                                                                                                                         15   designed to induce reasonable consumers, like Plaintiff and the California Subclass,
                                                                                                                         16   to purchase the Products.
                                                                                                                         17         91. Causation/Damages. As a direct and proximate result of Defendant’s
                                                                                                                         18   misconduct in violation of the FAL, Plaintiff and members of the California Subclass
                                                                                                                         19   were harmed in the amount of the purchase price they paid for the Products. Further,
                                                                                                                         20   Plaintiff and members of the Class have suffered and continue to suffer economic
                                                                                                                         21   losses and other damages including, but not limited to, the amounts paid for the
                                                                                                                         22   Products, and any interest that would have accrued on those monies, in an amount to
                                                                                                                         23   be proven at trial. Accordingly, Plaintiff seeks a monetary award for violation of the
                                                                                                                         24   FAL in damages, restitution, and/or disgorgement of ill-gotten gains to compensate
                                                                                                                         25   Plaintiff and the California Subclass for said monies, as well as injunctive relief to
                                                                                                                         26   enjoin Defendant’s misconduct prevent ongoing and future harm that will result.
                                                                                                                         27         92. Punitive Damages. Defendant’s unfair, fraudulent, and unlawful conduct
                                                                                                                         28   described herein constitutes malicious, oppressive, and/or fraudulent conduct
                                                                                                                                                                     44
                                                                                                                                                          CLASS ACTION44COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 45 of 53 Page ID #:45




                                                                                                                          1   warranting an award of punitive damages as permitted by law. Defendant’s
                                                                                                                          2   misconduct is malicious as Defendant acted with the intent to cause Plaintiff and
                                                                                                                          3   consumers to pay for Products that they were not, in fact, receiving. Defendant
                                                                                                                          4   willfully and knowingly disregarded the rights of Plaintiff and consumers as
                                                                                                                          5   Defendant was aware of the probable dangerous consequences of its conduct and
                                                                                                                          6   deliberately      failed       to    avoid     misleading         consumers,   including
                                                                                                                          7   Plaintiff. Defendant’s misconduct is oppressive as, at all relevant times, said conduct
                                                                                                                          8   was so vile, base, and/or contemptible that reasonable people would look down upon
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   it and/or otherwise would despise such corporate misconduct. Said misconduct
                                                                                                                         10   subjected Plaintiff and consumers to cruel and unjust hardship in knowing disregard
                                                                                                                         11   of their rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant
                                                                                                                         12   times, intentionally misrepresented and/or concealed material facts with the intent to
                                                                                                                         13   deceive Plaintiff and consumers. The wrongful conduct constituting malice,
                                                                                                                         14   oppression, and/or fraud was committed, authorized, adopted, approved, and/or
                                                                                                                         15   ratified by officers, directors, and/or managing agents of Defendant.
                                                                                                                         16                                        COUNT THREE
                                                                                                                         17                  Violation of California Consumers Legal Remedies Act
                                                                                                                         18                                 (Cal. Civ. Code §§ 1750, et seq.)
                                                                                                                         19                              (On Behalf of the California Subclass)
                                                                                                                         20         93. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                                                                         21   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                                                                         22         94. California Subclass. Plaintiff brings this claim individually and on
                                                                                                                         23   behalf of the California Subclass who purchased the Products within the applicable
                                                                                                                         24   statute of limitations.
                                                                                                                         25         95. CLRA Standard. The CLRA provides that “unfair methods of
                                                                                                                         26   competition and unfair or deceptive acts or practices undertaken by any person in a
                                                                                                                         27   transaction intended to result or which results in the sale or lease of goods or services
                                                                                                                         28   to any consumer are unlawful.”
                                                                                                                                                                         45
                                                                                                                                                              CLASS ACTION45COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 46 of 53 Page ID #:46




                                                                                                                          1         96. Goods/Services. The Products are “goods,” as defined by the CLRA in
                                                                                                                          2   California Civil Code §1761(a).
                                                                                                                          3         97. Defendant. Defendant is each a “person,” as defined by the CLRA in
                                                                                                                          4   California Civil Code §1761(c).
                                                                                                                          5         98. Consumers. Plaintiff and members of the California Subclass are
                                                                                                                          6   “consumers,” as defined by the CLRA in California Civil Code §1761(d).
                                                                                                                          7         99. Transactions. The purchase of the Products by Plaintiff and members of
                                                                                                                          8   the California Subclass are “transactions” as defined by the CLRA under California
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   Civil Code § 1761(e).
                                                                                                                         10         100. Violations of the CLRA. Defendant violated the following sections of
                                                                                                                         11   the CLRA by selling the Products to Plaintiff and the California Subclass through the
                                                                                                                         12   false, misleading, deceptive, and fraudulent Challenged Representation:
                                                                                                                         13               a. Section 1770(a)(5) by representing that the Products have
                                                                                                                         14                  “characteristics, . . . uses [or] benefits . . . which [they] do not have.”
                                                                                                                         15               b. Section 1770(a)(7) by representing that the Products “are of a
                                                                                                                         16                  particular standard, quality, or grade . . . [when] they are of another.”
                                                                                                                         17               c. Section 1770(a)(9) by advertising the Products “with [the] intent not
                                                                                                                         18                  to sell them as advertised.”
                                                                                                                         19      101.     Knowledge. Defendant’s uniform and material representation regarding
                                                                                                                         20   the Products was likely to deceive, and Defendant knew or should have known that
                                                                                                                         21   its representation was untrue and misleading.
                                                                                                                         22      102.     Malicious. Defendant’s conduct is malicious, fraudulent, and wanton in
                                                                                                                         23   that Defendant intentionally misled and withheld material information from
                                                                                                                         24   consumers, including Plaintiff, to increase the sale of the Products.
                                                                                                                         25      103.     Plaintiff Could Not Have Avoided Injury. Plaintiff and members of the
                                                                                                                         26   California Subclass could not have reasonably avoided such injury. Plaintiff and
                                                                                                                         27   members of the California Subclass were unaware of the existence of the facts that
                                                                                                                         28   Defendant suppressed and failed to disclose, and Plaintiff and members of the
                                                                                                                                                                     46
                                                                                                                                                          CLASS ACTION46COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 47 of 53 Page ID #:47




                                                                                                                          1   California Subclass would not have purchased the Products and/or would have
                                                                                                                          2   purchased them on different terms had they known the truth.
                                                                                                                          3      104.     Causation/Reliance/Materiality. Plaintiff and the California Subclass
                                                                                                                          4   suffered harm as a result of Defendant’s violations of the CLRA because they relied
                                                                                                                          5   on the Challenged Representation in deciding to purchase the Products. The
                                                                                                                          6   Challenged Representation was a substantial factor. The Challenged Representation
                                                                                                                          7   was material because a reasonable consumer would consider it important in deciding
                                                                                                                          8   whether to purchase the Products.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9         105. Section 1782(d)—Prelitigation Demand/Notice. Pursuant to California
                                                                                                                         10   Civil Code, section 1782, more than thirty days prior to the filing of this complaint,
                                                                                                                         11   on or about March 15, 2024, Plaintiff’s counsel, acting on behalf all members of the
                                                                                                                         12   Class, mailed a Demand Letter, via U.S. certified mail, return receipt requested,
                                                                                                                         13   addressed to Defendant Universal Beauty Products, Inc. at its headquarters and
                                                                                                                         14   principal place of business registered with the Illinois Secretary of State (500 Wall
                                                                                                                         15   St. Glendale Height, IL 60139), and its registered agent for service of process (Roger
                                                                                                                         16   T. Stelle at 1515 E Woodfield Road, Suite 250 Schaumburg, IL 60173).
                                                                                                                         17      106.     Causation/Damages. As a direct and proximate result of Defendant’s
                                                                                                                         18   misconduct in violation of the CLRA, Plaintiff and members of the California
                                                                                                                         19   Subclass were harmed in the amount of the purchase price they paid for the Products.
                                                                                                                         20   Further, Plaintiff and members of the Class have suffered and continue to suffer
                                                                                                                         21   economic losses and other damages including, but not limited to, the amounts paid
                                                                                                                         22   for the Products, and any interest that would have accrued on those monies, in an
                                                                                                                         23   amount to be proven at trial. Accordingly, Plaintiff seeks a monetary award for
                                                                                                                         24   violation of this Act in the form of damages, restitution, disgorgement of ill-gotten
                                                                                                                         25   gains to compensate Plaintiff and the California Subclass for said monies.
                                                                                                                         26      107.     Injunction. Given that Defendant’s conduct violated California Civil
                                                                                                                         27   Code section 1780, Plaintiff and members of the California Subclass are entitled to
                                                                                                                         28   seek, and do hereby seek, injunctive relief to put an end to Defendant’s violations of
                                                                                                                                                                     47
                                                                                                                                                          CLASS ACTION47COMPLAINT
                                                                                                                                    Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 48 of 53 Page ID #:48




                                                                                                                          1   the CLRA and to dispel the public misperception generated, facilitated, and fostered
                                                                                                                          2   by Defendant’s false advertising campaign. Plaintiff has no adequate remedy at law.
                                                                                                                          3   Without equitable relief, Defendant’s unfair and deceptive practices will continue to
                                                                                                                          4   harm Plaintiff and the California Subclass. Accordingly, Plaintiff seeks an injunction
                                                                                                                          5   to enjoin Defendant from continuing to employ the unlawful methods, acts, and
                                                                                                                          6   practices alleged herein pursuant to section 1780(a)(2), and otherwise requires
                                                                                                                          7   Defendant to take corrective action necessary to dispel the public misperception
                                                                                                                          8   engendered, fostered, and facilitated through Defendant’s deceptive labeling of the
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   Products with the Challenged Representation.
                                                                                                                         10         108.    Punitive Damages. Defendant’s unfair, fraudulent, and unlawful conduct
                                                                                                                         11   described herein constitutes malicious, oppressive, and/or fraudulent conduct
                                                                                                                         12   warranting an award of punitive damages as permitted by law. Defendant’s
                                                                                                                         13   misconduct is malicious as Defendant acted with the intent to cause Plaintiff and
                                                                                                                         14   consumers to pay for Products that they were not, in fact, receiving. Defendant
                                                                                                                         15   willfully and knowingly disregarded the rights of Plaintiff and consumers as
                                                                                                                         16   Defendant was, at all times, aware of the probable dangerous consequences of its
                                                                                                                         17   conduct and deliberately failed to avoid misleading consumers, including Plaintiff.
                                                                                                                         18   Defendant’s misconduct is oppressive as, at all relevant times, said conduct was so
                                                                                                                         19   vile, base, and/or contemptible that reasonable people would look down upon it and/or
                                                                                                                         20   otherwise would despise such corporate misconduct. Said misconduct subjected
                                                                                                                         21   Plaintiff and consumers to cruel and unjust hardship in knowing disregard of their
                                                                                                                         22   rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant times,
                                                                                                                         23   intentionally misrepresented and/or concealed material facts with the intent to deceive
                                                                                                                         24   Plaintiff and consumers. The wrongful conduct constituting malice, oppression,
                                                                                                                         25   and/or fraud was committed, authorized, adopted, approved, and/or ratified by
                                                                                                                         26   officers, directors, and/or managing agents of Defendant. Accordingly, Plaintiff seeks
                                                                                                                         27   an award of punitive damages against Defendant.
                                                                                                                         28   ///
                                                                                                                                                                      48
                                                                                                                                                           CLASS ACTION48COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 49 of 53 Page ID #:49




                                                                                                                          1                                        COUNT FOUR
                                                                                                                          2                                    Breach of Warranty
                                                                                                                          3              (On Behalf of the Nationwide Class and California Subclass)
                                                                                                                          4         109. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                                                                          5   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                                                                          6         110. Nationwide Class & California Subclass. Plaintiff brings this claim
                                                                                                                          7   individually and on behalf of the Class who purchased the Products within the
                                                                                                                          8   applicable statute of limitations.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9         111. Express Warranty. By advertising and selling the Products at issue,
                                                                                                                         10   Defendant made promises and affirmations of fact on the Products’ labeling, and
                                                                                                                         11   through its marketing and advertising, as described herein. This labeling and
                                                                                                                         12   advertising constitute express warranties and became part of the basis of the bargain
                                                                                                                         13   between Plaintiff and members of the Class and Defendant. Defendant purports,
                                                                                                                         14   through the Products’ labeling and advertising, to create express warranties that the
                                                                                                                         15   Products, among other things, conform to the Challenged Representation.
                                                                                                                         16         112. Implied Warranty of Merchantability. By advertising and selling the
                                                                                                                         17   Products at issue, Defendant, a merchant of goods, made promises and affirmations
                                                                                                                         18   of fact that the Products are merchantable and conform to the promises or affirmations
                                                                                                                         19   of fact made on the Products’ labeling, and through its marketing and advertising, as
                                                                                                                         20   described herein. This labeling and advertising, combined with the implied warranty
                                                                                                                         21   of merchantability, constitute warranties that became part of the basis of the bargain
                                                                                                                         22   between Plaintiff and members of the Class and Defendant—to wit, that the Products,
                                                                                                                         23   among other things, conform to the Challenged Representation.
                                                                                                                         24         113. Breach of Warranty. Contrary to Defendant’s express warranties, the
                                                                                                                         25   Products do not conform to the Challenged Representation and, therefore, Defendant
                                                                                                                         26   breached its warranties about the Products and their qualities.
                                                                                                                         27         114. Causation/Remedies. As a direct and proximate result of Defendant’s
                                                                                                                         28   breach of express warranty, Plaintiff and members of the Class were harmed in the
                                                                                                                                                                      49
                                                                                                                                                           CLASS ACTION49COMPLAINT
                                                                                                                                    Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 50 of 53 Page ID #:50




                                                                                                                          1   amount of the purchase price they paid for the Products. Further, Plaintiff and
                                                                                                                          2   members of the Class have suffered and continue to suffer economic losses and other
                                                                                                                          3   damages including, but not limited to, the amounts paid for the Products, and any
                                                                                                                          4   interest that would have accrued on those monies, in an amount to be proven at trial.
                                                                                                                          5   Accordingly, Plaintiff seeks a monetary award for breach of warranty in the form of
                                                                                                                          6   damages, restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiff
                                                                                                                          7   and       the   Class   for   said   monies,   as   well   as   injunctive   relief   to
                                                                                                                          8   enjoin Defendant’s misconduct to prevent ongoing and future harm that will result.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9            115. Punitive Damages. Plaintiff seeks punitive damages pursuant to this
                                                                                                                         10   cause of action for breach of warranty on behalf of Plaintiff and the Class.
                                                                                                                         11   Defendant’s unfair, fraudulent, and unlawful conduct described herein constitutes
                                                                                                                         12   malicious, oppressive, and/or fraudulent conduct warranting an award of punitive
                                                                                                                         13   damages as permitted by law. Defendant’s misconduct is malicious as Defendant
                                                                                                                         14   acted with the intent to cause Plaintiff and consumers to pay for Products that they
                                                                                                                         15   were not, in fact, receiving. Defendant willfully and knowingly disregarded the rights
                                                                                                                         16   of Plaintiff and consumers as Defendant was aware of the probable dangerous
                                                                                                                         17   consequences of its conduct and deliberately failed to avoid misleading consumers,
                                                                                                                         18   including Plaintiff. Defendant’s misconduct is oppressive as, at all relevant times,
                                                                                                                         19   said conduct was so vile, base, and/or contemptible that reasonable people would look
                                                                                                                         20   down upon it and/or otherwise would despise such misconduct. Said misconduct
                                                                                                                         21   subjected Plaintiff and consumers to cruel and unjust hardship in knowing disregard
                                                                                                                         22   of their rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant
                                                                                                                         23   times, intentionally misrepresented and/or concealed material facts with the intent to
                                                                                                                         24   deceive Plaintiff and consumers. The wrongful conduct constituting malice,
                                                                                                                         25   oppression, and/or fraud was committed, authorized, adopted, approved, and/or
                                                                                                                         26   ratified by officers, directors, and/or managing agents of Defendant.
                                                                                                                         27   ///
                                                                                                                         28   ///
                                                                                                                                                                        50
                                                                                                                                                             CLASS ACTION50COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 51 of 53 Page ID #:51




                                                                                                                          1                                         COUNT FIVE
                                                                                                                          2                                Unjust Enrichment/Restitution
                                                                                                                          3              (On Behalf of the Nationwide Class and California Subclass)
                                                                                                                          4         116. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                                                                          5   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                                                                          6         117. Nationwide Class & California Subclass. Plaintiff brings this claim
                                                                                                                          7   individually and on behalf of the Class who purchased the Products within the
                                                                                                                          8   applicable statute of limitations.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9         118. Plaintiff/Class Conferred a Benefit. By purchasing the Products,
                                                                                                                         10   Plaintiff and members of the Class conferred a benefit on Defendant in the form of
                                                                                                                         11   the purchase price of the Products.
                                                                                                                         12         119. Defendant’s Knowledge of Conferred Benefit. Defendant had
                                                                                                                         13   knowledge of such benefit and Defendant appreciated the benefit because, were
                                                                                                                         14   consumers not to purchase the Products, Defendant would not generate revenue from
                                                                                                                         15   the sales of the Products.
                                                                                                                         16         120. Defendant’s Unjust Receipt Through Deception. Defendant’s owing
                                                                                                                         17   acceptance and retention of the benefit is inequitable and unjust because the benefit
                                                                                                                         18   was obtained by Defendant’s fraudulent, misleading, and deceptive representation
                                                                                                                         19   and omission.
                                                                                                                         20         121. Causation/Damages. As a direct and proximate result of Defendant’s
                                                                                                                         21   unjust enrichment, Plaintiff and members of the Class were harmed in the amount of
                                                                                                                         22   the purchase price they paid for the Products. Further, Plaintiff and members of the
                                                                                                                         23   Class have suffered and continue to suffer economic losses and other damages
                                                                                                                         24   including, but not limited to, the amounts paid for the Products, and any interest that
                                                                                                                         25   would have accrued on those monies, in an amount to be proven at trial. Accordingly,
                                                                                                                         26   Plaintiff seeks a monetary award for unjust enrichment in damages, restitution, and/or
                                                                                                                         27   disgorgement of ill-gotten gains to compensate Plaintiff and the Class for said monies,
                                                                                                                         28

                                                                                                                                                                       51
                                                                                                                                                            CLASS ACTION51COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 52 of 53 Page ID #:52




                                                                                                                          1   as well as injunctive relief to enjoin Defendant’s conduct to prevent ongoing and
                                                                                                                          2   future harm that will result.
                                                                                                                          3         122. Punitive Damages. Plaintiff seeks punitive damages pursuant to this
                                                                                                                          4   cause of action for unjust enrichment on behalf of Plaintiff and the Class. Defendant’s
                                                                                                                          5   unfair, fraudulent, and unlawful conduct described herein constitutes malicious,
                                                                                                                          6   oppressive, and/or fraudulent conduct warranting an award of punitive damages as
                                                                                                                          7   permitted by law. Defendant’s misconduct is malicious as Defendant acted with the
                                                                                                                          8   intent to cause Plaintiff and consumers to pay for Products that they were not, in fact,
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   receiving. Defendant willfully and knowingly disregarded the rights of Plaintiff and
                                                                                                                         10   consumers as Defendant was aware of the probable dangerous consequences of its
                                                                                                                         11   conduct and deliberately failed to avoid misleading consumers, including Plaintiff.
                                                                                                                         12   Defendant misconduct is oppressive as, at all relevant times, said conduct was so vile,
                                                                                                                         13   base, and/or contemptible that reasonable people would look down upon it and/or
                                                                                                                         14   otherwise would despise such corporate misconduct. Said misconduct subjected
                                                                                                                         15   Plaintiff and consumers to cruel and unjust hardship in knowing disregard of their
                                                                                                                         16   rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant times,
                                                                                                                         17   intentionally misrepresented and/or concealed material facts with the intent to deceive
                                                                                                                         18   Plaintiff and consumers. The wrongful conduct constituting malice, oppression,
                                                                                                                         19   and/or fraud was committed, authorized, adopted, approved, and/or ratified by
                                                                                                                         20   officers, directors, and/or managing agents of Defendant.
                                                                                                                         21                                     PRAYER FOR RELIEF
                                                                                                                         22         123. WHEREFORE, Plaintiff, individually and on behalf of all others
                                                                                                                         23   similarly situated, prays for judgment against Defendant as follows:
                                                                                                                         24
                                                                                                                                       a. Certification: For an order certifying this action as a class action,
                                                                                                                         25               appointing Plaintiff as the Class Representative, and appointing
                                                                                                                                          Plaintiff’s Counsel as Class Counsel, consistent with applicable law;
                                                                                                                         26
                                                                                                                                       b. Declaratory Relief: For an order declaring that Defendant’s conduct
                                                                                                                         27
                                                                                                                                          violates the statutes and laws referenced herein, consistent with
                                                                                                                         28               applicable law and pursuant to only those causes of action so permitted;

                                                                                                                                                                         52
                                                                                                                                                              CLASS ACTION52COMPLAINT
                                                                                                                                Case 2:24-cv-05200 Document 1 Filed 06/20/24 Page 53 of 53 Page ID #:53




                                                                                                                                       c. Injunction: For an order requiring Defendant to change its business
                                                                                                                          1
                                                                                                                                          practices to prevent or mitigate the risk of the consumer deception and
                                                                                                                          2               violations of law outlined herein. This includes, for example, orders that
                                                                                                                                          Defendant immediately ceases and desists from selling the unlawful
                                                                                                                          3               Products in violation of law; that enjoin Defendant from continuing to
                                                                                                                                          market, advertise, distribute, and sell the Products in the unlawful manner
                                                                                                                          4               described herein; that require Defendant to engage in an affirmative
                                                                                                                          5               advertising campaign to dispel the public misperception of the Products
                                                                                                                                          resulting from Defendant’s unlawful conduct; and/or that require
                                                                                                                          6               Defendant to take all further and just corrective action, consistent with
                                                                                                                                          applicable law and pursuant to only those causes of action so permitted;
                                                                                                                          7
                                                                                                                                       d. Damages/Restitution/Disgorgement: For an order awarding monetary
                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                                          compensation in the form of damages, restitution, and/or disgorgement to
                                                                                                                          9               Plaintiff and the Class, consistent with applicable law and pursuant to
                                                                                                                                          only those causes of action so permitted;
                                                                                                                         10
                                                                                                                                       e. Punitive Damages/Penalties: For an order awarding punitive damages,
                                                                                                                         11               statutory penalties, and/or monetary fines, consistent with applicable law
                                                                                                                         12               and pursuant to only those causes of action so permitted;

                                                                                                                         13            f. Attorneys’ Fees & Costs: For an order awarding attorneys’ fees and
                                                                                                                                          costs, consistent with applicable law and pursuant to only those causes of
                                                                                                                         14               action so permitted;
                                                                                                                         15
                                                                                                                                       g. Pre/Post-Judgment Interest: For an order awarding pre-judgment and
                                                                                                                         16               post-judgment interest, consistent with applicable law and pursuant to
                                                                                                                                          only those causes of action so permitted; and
                                                                                                                         17
                                                                                                                                       h. All Just & Proper Relief: For such other and further relief as the Court
                                                                                                                         18               deems just and proper.
                                                                                                                         19

                                                                                                                         20                             DEMAND FOR JURY TRIAL
                                                                                                                         21          124. Plaintiff hereby demands a trial by jury on all issues and causes of action
                                                                                                                         22   so triable.
                                                                                                                         23

                                                                                                                         24   DATED: June 20, 2024                  MALK & POGO LAW GROUP, LLP
                                                                                                                         25                                         /s/ Valter Malkhasyan
                                                                                                                         26                                         Valter Malkhasyan, Esq.
                                                                                                                                                                    Erik Pogosyan, Esq.
                                                                                                                         27

                                                                                                                         28
                                                                                                                                                                    Counsel for Plaintiff Michael Dilanyan
                                                                                                                                                                     53
                                                                                                                                                          CLASS ACTION53COMPLAINT
